Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 1 of 43

 

 

 

30 (Pages 2308 to 2311)

Page 2308 Page 2310

1 A. Yes. 1 Q. Well, it was preliminary as you say but what

2 Q. You weren't embellishing anything when you 2 you wrote to your CEO is that both BDO and my client are

3 were writing this memo, were you? 3 very excited about the potential and are working out the ;

4 A. Not intentionally. 4 economics of the transaction. Now, that was true when :

5 Q. You were doing your very best to put down 5 you wrote it, right? :

6 what was actually true, right? 6 A. Yes. :

7 A. Yes. 7 MR. THOMAS: Your Honor, may I approach? !

8 Q. And when you said you had very high 8 THE COURT: You may. :

9 expectations for the Miami office and the firm as a 9 BY MR. THOMAS: :
10 _ result of this alliance, you meant that StrataSys 10 Q. lapproach with Plaintiffs' Exhibit 471 in f
11 wouldn't just help the Miami office. They could help 11 ___ evidence. ;
12  BDOasa whole, right? 12 (Technician complies.) :
13 A. No. I think what I meant was at that time 13 Now, if we look at this memo from :
14 if the Miami office benefits the firm benefits. We were 14 Mr. Parlapiano to the other gentleman at E.S. Bankest /
15 one firm. 15 and Bankest Capital, the re: line reads "5-23-01 i
16 Q. So your high expectations were for the Miami 16 meeting with BDO Seidman." Did I get that right? :
17 office and because the Miami office would benefit, the 17 A. Yes. :
18 whole firm would benefit. That's what you understand it § 18 Q. And what it says is, " Yesterday I attended }
19 tomean? 19 ameeting at BDO's (Sandy Lenner's) office. In i
20 A. Yes. 20 attendance were Sandy, Dave Larson of BDO's Star Wagon,
21 Q. And if you look at the next page, this 21 their technology company, and Michael O'Hare." You see i
22 wasn't the only alliance that you were excited about, 22 that? , ‘
23 right? 23 A. Yes.
24 A. Yes. 24 Q. And you understand that to be accurate,
25 Q. And if we look down to factoring alliance, 25 right?
Page 2309 Page 2311 ff

1 do you see that? It says factoring alliance. Now, do 1 A. Yes. :
2 _ you think that was on the BDO form or is that something 2 Q. Now, the next sentence reads, "Mr. O'Hare j
3 you put in? 3 _ sits on the board of the parent company of BDO and he's §

4 A. I believe that's something I put in. 4 an executive director and he is the highest ranking
5 Q. And then underneath that it says, 'Michael 5 corporate officer related to nonaccounting BDO companies Hi
6 O'Hare and J met in July 2001 with the principals of one 6 such as Star Wagon." :
7 of my factor clients to provide factoring services to 7 Now, do you know if that sentence beginning

8 BDO's clients and the alliance member firms' clients." 8 heis executive director, do you know that's -- he was
9 This is the first -- first of all, Michael 9 an executive director at the time? ;
10 O'Hare, that's the guy that reports to the CEO, right? 10 A. I subsequently learned that he was the
11 A. Yes. 11 executive director at that time. That is accurate.
12 Q. And you're referring here to Bankest, right? 12 Q. And it says -- the next sentence -- "The H
13 A. Yes. 13 meeting was held to finally negotiate the final terms of ;
14 Q. Imean, that's your factoring client you're 14 the StrataSys BDO Star Wagon alliance agreement (draft
15 talking about, right? 15 attached). StrataSys was represented by its president,
16 A. Yes. 16 Howard Cantor, and I as director. I've been working
17 Q. And what you're writing here to the CEO and 17 with Sandy and Larson to achieve an acceptable alliance
18 the compensation committee is that BDO -- or at least 18 agreement. We reached final agreement yesterday and are
19 you and Mr. O'Hare -- are thinking about forming an 19 shooting for an executed agreement by 5-31-01."
20 alliance with your own factoring client, right? 20 And you understand that to be generally
21 MS. BITAR: Objection, Your Honor. 21 accurate, right? :
22 THE COURT: Overruled. 22 And then -- ;
23 THE WITNESS: That was a — that was part of 23 A. Yes. t
24 the concept there. It was a very preliminary concept. 24 Q. And then the next sentence reads, "BDO
25 BY MR. THOMAS: 25 estimates it will originate more than 10 million in :

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 2 of 43

31 (Pages 2312 to 2315)

 

 

Page 2312 Page 2314
1 business to the StrataSys BDO Star Wagon alliance over 1 It says, "Separately, Sandy asked Mr. O'Hare
2 the next 12 months," and you understand that to be 2 to mention his efforts related to establishing a BDO
3 accurate too, right? 3 finance company. Given BDO's insight into the now
4 A. No. 4 difficult and getting tougher by the day cash flow
5 Q. Mr. Lenner, how much of the business that 5 environment of small and mid-size companies, BDO sees an
6 was generated by StrataSys was BDO going to get? 6 opportunity to provide cash flow financing services to
7 MS. BITAR: I'm sorry? 7 its clients, and that of companies who are members of
8 BY MR. THOMAS: 8 the BDO alliances."
9 Q. How much of the business generated by 9 Now, that's generally accurate, too?
10 StrataSys was BDO going to get pursuant to your 10 MS. BITAR: Your Honor, I'm going to object.
11 agreement with them? 11. This is improper refreshment and compound.
12 A. I thought there was an objection pending. 12 THE COURT: Overruled. Why don't you ask it
13 THE COURT: I didn't hear any. 13 again?
14 MS. BITAR: I stood up, Your Honor. 14 BY MR. THOMAS:
15 THE WITNESS: I'm sorry. 15 Q. I just read that paragraph beginning
16 MR. THOMAS: No, that's okay. 16 separately and I asked that's generally accurate too,
17 THE COURT: Read it back. 17 right?
18 (Thereupon, the court reporter read back the - 18 A. Trecall this meeting occurring. I don't
19 requested portion.) 19 recall specifically all these topies here but that's
20 THE WITNESS: I would expect most of the 20 generally -- that was the topic discussed.
21 business would come to BDO Miami. 21 Q. And then the next paragraph reads,
22 BY MR. THOMAS: 22 "Mr. O'Hare was clear in that BDO does not intend to
23 Q. And pursuant to that agreement, BDO would 23 take principal risk (credit, client, risk, et cetera)
24 make 20 percent on the referrals, do you remember that? 24 and it will not use its own balance sheet to access what
25 A. Yes. 25 Mr. O'Hare stated to be about 200 million a year in
Page 2313 Page 2315
1 Q. So if there was 10 million dollars in 1 accounts receivable-based cash flow lending which BDO's
2 business, BDO would make 2 million, right, because 20 2 finance company partner would fund." And that's
3 percent of 10 million is 2 million? 3 generally accurate, too, isn't it?
4 A. That's mathematically accurate. Like I said 4 MS. BITAR: Same objection, Your Honor.
5 amoment ago, I don't know where this 10 million dollars 5 THE COURT: Overruled.
6 came from. The first I ever saw this was when I looked 6 MS. BITAR: And hearsay.
7 at this memo. 7 THE COURT: Overruled.
8 Q. So if you were supposed to get 20 percent of 8 THE WITNESS: No. As I just said a few
9 the 10 million, that would be 2 million, right? 9 minutes ago, I don't recall all the contents, all the
10 A. Assuming this 10 million -- 10 subject matter of this meeting, and I don't recall -- I
il MS. BITAR: Objection, Your Honor. 11. don’t know where that 200 million dollar number came
12 THE COURT: What's your objection? 12 ~~ from.
13 MS. BITAR: I said it mischaracterizes the 13 Q. AsI understand your testimony, Mr. Lenner,
14 document and the testimony. 14 you can recall the general subject matter of the
15 THE COURT: Overruled. 15 meeting, but you can’t recall all the specifics; is that
16 THE WITNESS: So assuming the facts in your 16 right?
17 hypothetical, the answer is yes. 17 A. That's correct.
18 BY MR. THOMAS: 18 Q. So you can't recall for sure whether or not
19 Q. Now, in addition to discussing the StrataSys 19 this number was discussed or not, right?
20 alliance, this document discusses the factoring alliance 20 A. Well, I think if this number was discussed,
21 too, right? 21  Fdremember 200 million dollars. It's a big number. I
22 A. Yes. 22 just don't remember if it's something that happened six
23 Q. And if we -- can we kind of scan down there 23 ‘years ago.
24 alittle bit? 24 Q. So you think you would remember it but as
25 (Technician complies.) 25 you sit here now, you can't remember it so -- I'm sorry,

 

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EPA EEA XM PS SERS RIS CF AS AEG DRG BREN FELE RIE BERLE SN ESTA ALLE SE MSE DG TERE SITIES EASE ESO SENSES Se SASSI! LCRA ET EF, PEE ASR ENC AY EBD RA DCCL IDEN NESE ARE ERE IS NOR SEEES
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 3 of 43

32 (Pages 2316 to 2319)

 

 

 

Page 2316 Page 2318
1 I'm not sure I understand. 1 A. Yes.
2 A. I don't recall this number being discussed 2 Q. Do you remember that conversation with
3 at the meeting. I don't remember. 3 Mr. Parlapiano?
4 Q. Well, if we look on, the memo goes on to 4 A. No.
5 describe the meeting that, "Simply put, BDO wants to 5 Q. Can we look back at your good guy memo? Can
6 _ sell service cash flow financing and earn a point or so 6 y'all put that up? Give us just a moment.
7 as originator broker again without taking money risks." 7 (Technician complies.)
8 You see that? 8 Now, you remember that the meeting that --
9 A. Yes. 9 that other memo we looked at and Mr. Parlapiano's
10 Q. And you remember generally being talked 10 meeting he talked about is in May. That's the one where
11 about the finance company, but can you recall that 11 ‘you were talking about StrataSys?
12 specific? 12 A. Which memo is that? That's this one?
13 A. No. 13 MR. THOMAS: May I approach, Your Honor?
14 Q. Let's look at the next page. 14 THE COURT: You may.
15 (Technician complies.) 15 BY MR. THOMAS:
16 It says, "Obviously, Sandy had previewed 16 Q. The one, Plaintiffs’ Exhibit Number 471,
17  E.S. Bankest with Mr. O'Hare.” And it says, "TI 17 Mr. Parlapiano is talking about a meeting with BDO and
18 expressed an interest in having Sandy and Mr. O'Hare . $18 then -- I'm sorry, would you hand me that right there?
19 visit with us here at Bankest to further discuss the 19 A. (Complies).
20 possibility of BDO finance. Originating the business 20 Q. Thank you. And then Mr. Larson's memo also
21 ‘from a plus or minus one point and E.S. Bankest, 1) 21 talks about the May meeting. You see this?
22 owning the client directly, (i.e., each acceptable BDO 22 A. Yes.
23 client would become an E.S. Bankest client) and 2) 23 Q. These two exhibits we're talking about.
24 therefore, all business would be subject to our 24 MS. BITAR: Objection, Your Honor.
25 inquiring, and 3) E.S. Bankest could service and fund 25 MR. THOMAS: Your Honor, I'm showing to the
Page 2317 Page 2319
1 advances (cash flow financing) without recourse to BDO 1 jury what we don't have up on the screen with your
2 and with recourse to clients directly."" Do you see 2 permission.
3 that? 3 THE COURT: Overruled.
4 A. Yes, I see that. 4 BY MR. THOMAS:
5 Q. Now, when we look at the top, ''I have 5 Q. So there was the May meeting, and then
6 expressed an interest in having Sandy and Mr. O'Hare 6 Mr. Parlapiano represents in his memo, "My impression
7 _ visit us here to further discuss the possibility," you 7 was confirmed this morning by Sandy who related that
8 remember that part? 8 Mr. O'Hare wants to visit with E.S. Bankest sometime in
9 MS. BITAR: It's hearsay and it's asking the 9 the second half of June (he'll call me to arrange) to
10 witness what someone else is commenting on -- 10 ~— further discuss this opportunity."
11 MR. THOMAS: Objection, speaking objection. 11 And then what you wrote to your CEO you
12 THE COURT: Overruled. 12 wrote that you and Michael O'Hare met in July with the
13 THE WITNESS: I don't remember the 13 __ principals of my factoring clients. Do you see that?
14 particulars in this paragraph. 14 A. Right. July -- what happened is -- what I
15 BY MR. THOMAS: 15 think happened is when J was drafting this, I meant to :
16 Q. Allright. So you can't remember whether 16 put May. Because that's when it happened and I had this
17 Dominick asked you guys to come later on or not? 17 July 27th memo in front of you. It must have been a Hl
18 A. That's correct. 18 blind copy to me. That's what I think happened because
19 Q. The next -- Dominick then says, "I was of 19 there weren't two meetings. There was only one. :
20 _ the impression that Mr. O'Hare was very interested in 20 Q. So as you sit here today you think that when
21 discussing this further with us. My impression was 21 you wrote to your CEO that you had a second meeting with q
22 confirmed this morning by Sandy who related that 22 Mr. O'Hare in July that that was a mistake, the date was :
23 Mr. O'Hare wants to visit with E.S. Bankest sometime in {23 amistake? H
24 the second half of June (he'll call me to arrange) to 24 MS. BITAR: Objection, Your Honor. ;
25 25 THE COURT: Overruled.

 

further discuss this opportunity." Do you see that?
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 4 of 43

33 (Pages 2320 to 2323)

 

Page 2320

  
  
  
  
  
  
   
   
  
  
  
  
   
  
  
  
  

Page 23225

 

1 THE WITNESS: I didn't say I had a second 1 And then it says, "Sandy responded that he
2 meeting in July in that blowup up there. It doesn't say 2 thought the separation of BDO as broker from ES.
3 that. 3 Bankest as banker or funder was an excellent one." And
4 BY MR. THOMAS: 4 then it goes on to describe a similar arrangement.
5 Q. Mr. Lenner, can you please -- may I 5 At this time, Mr. Lenner, did you understand
6 approach, Your Honor? 6 that going into business with your own audit client
7 THE COURT: You may. 7 would be a conflict?
8 MR. THOMAS: (Complies). 8 A. Yes. But we would not -- if this happened,
9 BY MR. THOMAS: 9 and then the relationship would be terminated because --
10 Q. This one right here, 439, is that the one 10 Q. I'msorry, go ahead.
11 you were talking about? 11 A. That would be it. The audit relationship
12 A. This is the July memo. 12 would be terminated.
13 Q. Okay. So -- 13 Q. And did you write that to your CEO when you
14 A. Which is not from me. 14 told him that you were excited about the factoring
15 Q. So the July -- Plaintiffs’ Exhibit 439 which 15 alliance, that that might mean you would terminate your
16  isamemo from Dave Larson to James Hannon, dated July 9316 audit relationship?
17 27th, 2001 and your testimony is that even though you're 17 A. No.
18 _ not on this memo you think you had this memo in front of 18. Q. And Mr. Lenner, in fact, ultimately you
19 you when you wrote your memo to the CEO so you wrote 19 = didn't go into business with your audit client, right?
20 July when you meant to write May; is that right? 20 A. Excuse me?
21 A. That's what may have happened. 21 Q. Ultimately you did not go into business with
22 Q. And even though you're not on that memo, you 22 your audit client? You didn't do this factoring
23 think you had it in front of you at the time, you think 23 __ alliance with Bankest, correct?
24 maybe you were a blind copy on it? 24 A. Correct. That's correct.
25 A. Yeah. 25 Q. You didn't do it, right?
Page 2321 Page 2323 §
1 Q. Why would another BDO person blind copy you? 1 A. That's correct.
2 What would be the reason to keep it secret they were 2 Q. And you understood that for them, this idea
3 sending you that memo? 3 _ that you were going to terminate them as an audit
4 MS. BITAR: Objection, Your Honor. 4 client, that that was a deal killer because they
5 THE COURT: Sustained. Ask him one 5 couldn't lose you as their auditors, right?
6 question. 6 MS. BITAR: Objection, Your Honor.
7 BY MR. THOMAS: 7 THE COURT: Overruled.
8 Q. Inany event, Mr. Lenner, you think when you 8 THE WITNESS: At the time I don't know what
9 _ wrote to the CEO that Michael O'Hare met in 2001 that 9 was in their mind, whether they could lose us or not.
10 July is not right? 10 ‘The fact is that if we did enter an arrangement we would
11 A. Correct. It's May. 11 terminate our relationship with Bankest.
12 Q. So when Mr. Parlapiano writes that there 12 BY MR. THOMAS:
13 was -- that he confirmed with Sandy that Mr. O'Hare 13 Q. And they understood that?
14 wants to visit with us the second half of June for a 14 MS. BITAR: Objection, Your Honor.
15 second meeting, you don't think that happened? 15 THE COURT: Overruled.
16 A. Correct. 16 THE WITNESS: Well, based on what I'm
17 Q. Can we go back, please, to Plaintiffs’ 17 _ reading here, they understood that.
18 Exhibit Number 471 in evidence? And can we take the box 918 BY MR. THOMAS:
19 off, please. 19 Q. Let's go back to 415-B in evidence.
20 (Technician complies.) 20 (Technician complies.)
21 If we look down a little further, 21 Mr. Lenner, it's true that BDO Seidman for
22 Mr. Parlapiano writes, "I explained that if E.S. Bankest 22 _ these alliance programs like StrataSys made millions and
23 compensates BDO that the required disclosure, let alone 23 millions of dollars every year, right?
the possible need to replace BDO as our auditor due to 24 MS. BITAR: Objection, Your Honor.

 

the conflict, were deal killers for us."

 

  

   
    
  
  
  
   
   
  
  
  
   
  
   
   
  
  
   
 

THE COURT: Overtuled.
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 5 of 43

 

 

 

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34 (Pages 2324 to 2327)
Page 2324 Page 2326 i

1 THE WIINESS: Yes. 1 A. Yes.

2 BY MR. THOMAS: 2 Q. In fact, at one of the partners’ meetings

3 Q. Can we please turn to the next page? I 3 they brought a live wolf out on stage, right?

4 think it's actually the last page. I'm sorry, page 3. 4 A. Yes. It's very interesting what happened at

5 (Technician complies.) 5 that meeting was they brought out this wolf and it was a

6 Now if we look at Number 4, Mr. Lenner, this 6 very old wolf and it was being led to the CEO. I'll

7 talks about change leadership. "Individuals 7 never forget this. And it just urinated right on the

8 demonstrated commitment to change leadership, i.e., 8 stage.

9 moving the cheese." You see that? 9 Q. All over the place, right?

10 A. Yes. 10 A. Yes.
il Q. And underneath that you wrote, 11 Q. It got reported in the papers?
12 "Notwithstanding the importance of my core assurance 12 A. I don't know if it got reported in the
13 practice, I truly believe in ADC." That's the beginning 13 papers. But that's what I remember about that meeting.
14  ofthesentence. You see that? 14 ~~ It was hilarious.
15 A. Yes. 15 Q. And one of the things they reported in the
16 Q. And your core assurance practice, that was 16 papers was how ironic it was they brought out that old
17 the audits you were doing like for E.S. Bankest, right? 17 wolf when what BDO was using the wolf for was to say you
18 A. Yes. 18 were supposed to be ferocious about getting business,
19 Q. And ADC is Alternative Distribution Channel, 19 right?
20 right? 20 MS. BITAR: Objection, Your Honor.
21 A. Yes. 21 THE COURT: Overruled. Overruled. He
22 Q. And that's for alliances like StrataSys, 22 brought it up.
23 right? 23 MS. BITAR: Objection as to what is brought
24 A. Yes. 24 up in the newspaper.
25 Q. Or that factoring alliance, right? 25 THE COURT: Overruled.
Page 2325 Page 2327

1 A. Yes. 1 THE WITNESS: Really from what I remember

2 Q. And it says, ''My actions set forth above 2 from six years ago was this hilarious event. I don't

3. justify my beliefs." And what you're referring to there 3 remember a lot of the content of that meeting.

4 is you just detailed in this memo to the CEO the 4 BY MR. THOMAS:

5 alliances you were trying to do like with StrataSys and 5 Q. So you don't remember that it was reported

6 _ the factoring alliance, right? 6 afterwards that the reason BDO was using the wolf is to

7 A. Yes. 7 encourage the partners to be ferocious about going out

8 Q. And then you say, ''T have smelled the cheese 8 to get business. You don't remember that?

9 for the past couple of years. I have realized not only 9 MS. BITAR: Objection, Your Honor. Q
10 must we maintain and upgrade our core practices but we § 10 THE COURT: Sustained. 4
11 must diversify into new areas such as ADC alliances and 11 BY MR. THOMAS:
12 mergers. There is a common pattern to the process. I 12 Q. Well, Mr. Lenner, when you say up there that
13 have seen and learned that pre-existing CPA business 13 you can smell the cheese, you see that? ''I have smelled ;
14 _ strategies" -- CPA is certified public accountant? 14 the cheese for the past couple of years," in the second j
15 A. Yes. 15 sentence there? :
16 Q. -- "CPA business strategies and structures 16 A. Yes. j
17 become inflexible over time. These structures may 17 Q. Smell the cheese means to grow the practice, &
18 survive for some period with the protection of generally 18 right? :
19 apathy. But eventually, external catalysts move the 19 A. Yes. :
20 cheese for the practicing CPA and give a loud wolf howl 20 Q. And to grow the practice means to that :
21 (wake up call) to the pack (the firm)." 21 you're going to make more money, right? FE
22 You wrote that, right? 22 A. I would hope so. :
23 A. Yes. 23 Q. Yes? :
24 Q. At this time the symbol, the logo for BDO 24 A. Yes. :

H

 

was a wolf, right?

 

  

Q. And when you write down here that you want

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 6 of 43

35 (Pages 2328 to 2331)

 

 

 

 

Page 2328 Page 2330

1 to move the cheese for the practice -- excuse me, CPA 1 outmoded practice of just focusing on doing your audits !

2 __ and give a loud wolf howl (wake up call) to the pack 2 meant you'd be less profitable, right? i

3 (the firm), you want to give a loud wolf howl, that's 3 A. No. The first sentence says, :

4 you, right? 4 "Notwithstanding the importance of the core assurance :

5 A. Yes, in the context of this memo, it's -- I 5 practice," that's always the primary goal. This ;

6 —_leok back at it now six years later it's hokey, it's 6 business development, it's supplement, it's secondary to ;

7 just goofy, but it's something that the partners had to 7 what we do as auditors. ;

8 do. They had to -- 8 So it was part of what we were doing but, as ;

9 Q. Well, at the time -- 9 I said over here, the core purpose was the assurance
10 MS. BITAR: Excuse me, Your Honor. He's 10 practice of providing quality audit services to our i
11 interrupting. 11 clients. i
12 THE COURT: Did you finish? 12 Q. Well, you wrote down below, right, that "I f
13 MR. THOMAS: I'm sorry. I didn’t mean to 13 have seen and learned that pre-existing business
14 interrupt you. 14 strategies and structures become inflexible over time," ;
15 A. Iwas going to say all 250 partners had to 15 and those pre-existing business strategies were the Fi
16 = doit this way. We had to do it. Fill out the form and 16 = audit practice, right?
17 read this book, Moving the Cheese. 17 A. It's audit -- there are many practices. f
18 Q. I'msorry, that's I was going to say, you 18 It's a business.strategy for developing business, not
19 had to read the book, Moving the Cheese. And after you §19 working in your audit. If you mean in the context of
20 read that book, Moving the Cheese, you were trying to 20 bringing in new business, I would agree with you.
21 apply it to your work, right? 21 Q. And what this whole paragraph is about is
22 A. Well, I'm not sure if it was this book 22 about having you truly believe in Alternative ;
23 Moving the Cheese but the basic concepts we were just 23 Distribution Channel and how you're trying to give a if
24 supposed to -- I don't remember all the concepts now. 24 wake up call, a wolf howl to the firm about them, right? ;
25 What I do remember is what I put into this memo and 25 A. Yes.
Page 2329 Page 2331 :

1 __ that's basically all I remember. 1 Q. And Mr. Lemner, this alliance firm partner 4

2 A book that I had to read, I really don't 2 of yours, StrataSys, their receivables were being

3. care to remember six years later. 3 factored at E.S. Bankest, right?
4 Q. So what you were trying to do was take at 4 A. Yes, but I want you to just -- they're not
5 _ least the concepts you had from the book and apply them 5 an alliance partner. They're an alliance member.

6 to your business, right? 6 They're not partners with BDO. It's a separate and ;

7 A. Yes. 7 ~~ distinct entity and it's not a partner with us. We :

8 Q. When you took the concepts from the book and 8 don't manage them and they don't manage us.

9 you applied them to your business, and you meant smell 9 Q. Well, Mr. Lenner, when you were acting as an i
10 the cheese meant grow the practice and make more money, {10 auditor of E.S. Bankest, it was part of your job to know Ff
11 you were explaining that by pursuing these alliances you 11 whether the accounts receivable from your business i
12 could make more money for the firm, right? 12 partner StrataSys that you were auditing were real or :
13 A. Yes. 13 fake, right? ;
14 Q. And make more money for you? 14 A. That was our job, yes. ;
15 A. Yes. 15 MR. THOMAS: May I approach? E
16 Q. And hopefully by explaining it to the CEO 16 THE COURT: You may. :
17 and the compensation committee get a bigger bonus, 17 MR. THOMAS: (Complies). b
18 right? 18 BY MR. THOMAS: i
19 A. Yes. 19 Q. I'm approaching the witness with Plaintiffs’ :
20 Q. And when you were trying to give a loud wolf 20 Exhibit Number 78 in evidence. i
21 howl, wake up call to the pack, the firm, you were 21 These are the audited financials for E.S. :
22 trying to make sure that they knew that the business was 22  Bankest for the year 2000?
23 changing, right? 23 A. Yes. :
24 A. Yes. 24 Q. And 1999 in comparison, right? E
25 Q. And the business was changing because the 25 A. Yes. :
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 7 of 43

 

 

36 (Pages 2332 to 2335)
Page 2332 Page 2334 Hl
1 Q. And that's the wolf pack symbol for BDO down 1 disclosure that was put in there. The footnote is
2 there at the bottom, right? 2 incorrect. F
3 A. Yes. 3 MR. THOMAS: Your Honor, may I approach? E
4 Q. And part of your job was to audit the 4 THE COURT: You may.
5 numbers and the notes, right? 5 MR. THOMAS: (Complies). t
6 A. Yes. 6 BY MR. THOMAS: :
7 Q. And if you look at page 13, we see the note 7 Q. I'm approaching the witness -- may I set
8 that reads -- you all see that, an officer of the 8 this here for a minute? E
9 company? "An officer of the company is a member at the 9 A. Sure.
10 _ board of managers of a limited-liability company from 10 Q.  -- with Plaintiffs' Exhibit Number 81 in i
11. which the company has purchased 3.2 million in accounts §/11 evidence and at the same time I'm going to go ahead and
12 receivable." And that's StrataSys, right? 12 give you Plaintiffs’ Exhibit Number 307 in evidence.
13 A. Yes. 13 Mr. Lenner, this is the next year, right?
14 Q. And that's wrong, right? 14 A. Yes.
15 A. Yes. 15 Q. And Plaintiffs' Exhibit Number 81 in
16 MR. THOMAS: With His Honor's permission I 16 evidence is the 2001-2000 audited financials of E.S.
17 ~~ will approach you with Plaintiffs’ Exhibit Number 306 in 17  Bankest, right?
18 evidence. 18 A. Yes. .
19 THE COURT: You may. 19 Q. And if you look, please, over at page 13
20 BY MR. THOMAS: 20  withme. Do you see the same footnote again that reads,
21 Q. And Mr. Lenner, Plaintiffs’ Exhibit Number 21 ~=‘'"'An officer of the company is a member of the board of
22 306 in evidence, that's BDO's own work paper, right? 22 managers of a limited-liability company from which the A
23 A. Yes. 23 company has purchased 3.2 million in accounts receivable
24 Q. And it's for the same year as that 3.2 24 in2001"? Did I read that right? Es
25 million dollar note we just looked at in Plaintiffs’ 25 A. Yes. H
Page 2333 Page 2335
1 ‘Exhibit 87, right? 1 Q. And this is about StrataSys again? f
2 A. Yes. 2 A. Yes. H
3 Q. And this one it shows not 3.2 million in 3 Q. And this is about Mr. Parlapiano. That's
4  StrataSys, it shows 7.8 and 3.1, about 11 million, 4 who they're talking about?
5 right? 5 A. Yes.
6 A. Yes. 6 Q. And this is also a mistake, right?
7 Q. And the difference between 3.2 and 11, 7 A. Yes.
8 that's like about 8 million dollars, right? 8 Q. And if we look at BDO's work paper which is
9 A. Yes. 9  Plaintiffs' Exhibit Number 307, and this time it shows ff
10 Q. And so the number in that note, it was off 10 §©16.4 and 5, about 21 and a half million, right? "
11 about like 8 million dollars, right? il A. Correct. }
12 A. Yes. 12 Q. And now it's about an 18 million dollar :
13 Q. And I know we looked at the little mistake 13 mistake, right? :
14 about the date earlier, but this is a bigger mistake, 14 A. Yes. :
15 right? 15 Q. Well, can you at least give me that 18
16 MS. BITAR: Objection, Your Honor. 16 million dollar mistake is a big mistake? g
17 THE COURT: Overruled. 17 A. As I said before, the mistake is small but Hl
18 THE WITNESS: No. This is a small mistake. 18 the number is big. :
19 BY MR. THOMAS: 19 Q. And I'm sorry, why is the mistake small? ;
20 Q. So for you an 8 million dollar mistake is a 20 A. Because it's not a requirement in accordance :
21 small mistake; is that right? 21 with generally accounting principals to make this :
22 A. Well, the financial statements are correct. 22 disclosure. It was a supplemental disclosure. And it ;
23 The balance sheet is correct. There is no requirement 23 wasn't required. :
24  ingenerally accepted accounting principals to make this $24 Q. But when you make a disclosure in a ;

  

disclosure. It was optional, it was a supplemental

 

  

 

financial statement as a certified public accountant,

 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 8 of 43

37 (Pages 2336 to 2339)

 

   
   
   
  
   
  
   
  
  
   
 
   
  

 

 

Page 2336 Page 2338 f
1 you want it to be accurate, right? 1s going to approach you with Exhibit 7297 in evidence.
2 A. Yes. 2 THE COURT: You may.
3 Q. If this number is not right, the balance 3 MR. THOMAS: (Complies).
4 sheet number is not right; isn't that true? 4 BY MR. THOMAS:
5 A. No. The balance sheet is correct. The 5 Q. Now, Mr. Lenner, you said you had no
6 income -- the entire set of financials is correct. The 6 independent knowledge at time that the accounts
7 work paper that is up there is correct. It's just the 7 receivable from your business partner StrataSys were
8 footnote which is a supplemental disclosure, that's not 8 fake, but you knew at the time that they couldn't even
9 correct. 9 afford to pay their licensing fee, right?
10 Q. Can we go to the balance sheet on this? 10 A. First of all, I'd prefer if you don't call
11 It's page 3 of Plaintiffs’ Exhibit Number 81. 11 them a business partner because they were not a business
12 MS. BITAR: Where is it? 12 partner. We did not have a partnership with StrataSys.
13 MR. THOMAS: Page 3 of Plaintiffs' Exhibit 13 They were an alliance member. And that's just not a
14 «81. 14 correct use of the term.
15 MS. BITAR: Give me a moment, please. 15 Q. You had a business relationship with them,
16 BY MR. THOMAS: 16 can you at least give me that?
17 Q. This is the balance sheet for that year, 17 A. Yes.
18 ~sright? 18 Q. Because if they made money through
19. A. Yes. 19 referrals, you were going to get 20 percent of it,
20 Q. Mr. Lenner, this balance sheet isn't 20 right? That's what we talked about earlier, do you
21 correct, is it? Mr. Lenner, those 153 million in 21 remember that?
22 accounts receivable that you certified, they were almost 22 A. Yes.
23 all fake, right? 23 Q. Allright. Well, the StrataSys who you had
24 A. At the time we were doing the audit, I had 24 a business relationship with, you knew at the time that
25 no independent knowledge that they were fake. It's just §25 they couldn't pay you even their monthly licensing fee,
Page 2337 Page 23398
1 __ the testimony that we've heard during the course of this 1 much less have millions of millions of dollars in
2 trial and learning about this massive fraud that was 2 accounts receivable, right?
3 conducted over seven years by eight people who were 3 A. Iknew that they were not paying the license
4 going to jail who falsified hundreds of thousands of 4 fee. That's true. I knew that.
5 documents and they made it fake. 5 Q. If you look at Plaintiffs’ Exhibit 7297 in
6 Q. So when you said earlier that the balance 6 evidence, that's an e-mail from you, right?
7 ~~ sheet that you audited was correct, that's not right, is 7 A. Yes.
8 it, because you're not here to testify that there was 8 Q. And you were calling and leaving them a
9 actually 153 million dollars in accounts receivable in 9 strong voice mail to pay and you can look through those
10 2001, right? 10 e-mails if you want, it's because you knew they weren't
11 A. Based on the information we have had now, I 11 paying their $4,000 a month licensing fee, right?
12 have no reason to -- based on the information we've 12 A. Yes.
13 heard during the course of this trial I've learned that 13 Q. And Mr. Lenner, do you remember early on
14 the numbers there are fake and I would agree with you, 14 when we saw the description of StrataSys, and you said
15 sir. 15 they were close by the Miami office?
16 Q. And so the note, the 3.2 million, it's not 16 A. Yes.
17 correct and it wasn't correct at the time, based on what 17 Q. And so you could have just got in your car
18 you knew because your own work paper said there was 21 § 18 and drove over there, right?
19 anda half million, right? 19 A. Excuse me? For what purpose?
20 A. Yes. 20 Q. Well, to see that there were no cars in the
21 Q. And the balance sheet we now know it's not 21 parking lot and that they had shut down?
22 correct either because all those accounts receivable you 22 MS. BITAR: Objection, Your Honor.
23 certified were fake, right? 23 THE COURT: Sustained.
24 A. Yes. 24 BY MR. THOMAS:
25 Q. Mr. Lemner, with His Honor's permission I'm 25 Q. Well, one of the purposes you could have

 

   

  
   
  
   
  
  
   
  
  
   
  
   
 
 

   

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 9 of 43

Page 2340

38 (Pages 2340 to 2343)

  
   
  
  
  
  
  
  
  
  
  
   
  
  
  
  
  

Page 2342

 

 

 

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1 gone over there for was to look at the business, right? 1 BY MR. THOMAS:
2 MS. BITAR: Objection, Your Honor. 2 Q. Now, if you look down at the bottom of this
3 THE COURT: Overruled. 3 exhibit -- can you all scroll down for just a minute?
4 THE WITNESS: We did look at the business. 4 (Technician complies.)
5 BY MR. THOMAS: 5 You see a bunch of e-mails back and forth --
6 Q. That's right. In fact, not just you, but a 6 I'msorry, I said Mr. Kron, Actually at this time the
7 bunch of partners from BDO and even your Bankest audit 7 managing partner was Albert Lopez, right?
8 team went over and met all the people at StrataSys, 8 A. That's correct.
9 right? 9 Q. And you knew not just Mr. Kron when he was
10 A. Iremember the partners going over there. I 10 managing partner but Mr. Lopez when he was managing
11 don't remember the Bankest audit team going over there. 11 partner he had communications with StrataSys, right?
12 = It was something -- it was at a partner and maybe a 12 A. Yes.
13 manager level where we had an introductory meeting at 13 Q. And if you look down at the bottom of this
14 the beginning of the relationship. 14 e-mail string, you see a bunch of e-mails back and forth
15 Q. Well, you know that as the alliance firm 15 between some of the guys at StrataSys and Mr. Lopez,
16 liaison, that part of what happened at the very 16 right? You see that? There's one to ALopez@BDO.com?
17 beginning of the relationship is that they gave you 17 A. I see the one at the very bottom and the one
18 financial information and other business information, 18 in the middle are the only two references to Mr. Lopez
19 right? 19 getting this e-mail.
20 A. They gave that information to BDO, not -- I 20 Q. Well, if you look all the way down to the
21 did not get that information. 21 bottom -- can you all go to the next page?
22 Q. So let me rephrase it. You knew that at the 22 (Technician complies.)
23 beginning of the relationship, that part of what 23 That's Mr. Lopez sending one of these
24 happened between StrataSys and BDO was that StrataSys 24 e-mails. See up there where it says, "Albert Lopez,
25 gave financial information to BDO? 25 _ office business line leader, assurance services,'' and it
Page 2341 Page 2343
1 A. Iknew that they gave information. I wasn't 1 __ has the address and everything?
2 aware of exactly what type of information but there 2 A. Yes.
3 would be some information provided by them to BDO. 3 Q. That's him sending the e-mail, right?
4 Q. And you also knew that even though you were 4 A. Yes.
5 _ the alliance firm liaison, that there were other 5 Q. Now, if we can go back to the top.
6 _ partners at BDO who had communications with StrataSys, 6 (Technician complies.)
7 right? 7 When we look at the e-mail from Mr. Mendez
8 A. Yes. 8 to Mr. Parlapiano, you see where it says I just wanted?
9 Q. And one of those was the head of the office 9 A. Right.
910 ~=©6Richard Kron, right? 10 Q. "IT just wanted to let you see that
11 A. Yes. 11 notwithstanding BDO's Miami office managing partner
12 Q. And when you issued your 2002 audit, that 12 Albert Lopez's concerns due to his learning that one of
13 went out in May of 2003 or April, is that right? 13  StrataSys strategic consultants which had worked on a
14 A. I think it was April. 14 BDOreferred engagement quit last month when payroll was
15 Q. And when your audit went out in April saying 15 missed, and Albert knowing that payroll has missed a
16 there was 45 million dollars in accounts receivable from 16 couple of times he's still trying to help StrataSys."
17 your alliance firm member, StrataSys, Mr. Kron knew that § 17 Mr. Lenner, when you issued your clean audit
18  StrataSys couldn't even make payroll, right? 18 opinion certifying 45 million dollars in accounts
19 MS. BITAR: Objection, Your Honor. 19 receivable from StrataSys, did you know they couldn't :
20 THE COURT: Overruled. 20 even make payroll? ;
21 THE WITNESS: No. He didn't know that. 21 MS. BITAR: Objection, Your Honor and I F
22 MR. THOMAS: Your Honor, may I approach the 22 object to the use of this document in that context.
23 witness with Plaintiffs’ Exhibit Number 452 in evidence? 23 THE COURT: Overruled.
24 THE COURT: You may. 24 THE WITNESS: Not only did I not know about
25 MR. THOMAS: (Complies). this problem, Mr. Lopez didn't know about the problem

 
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 10 of 43

39 (Pages 2344 to 2347)

 

 

 

Page 2344 Page 2346 1

1 because he didn't get this e-mail. 1 Bankest, right?

2 BY MR. THOMAS: 2 A. Yes.

3 Q. Well, actually -- 3 Q. Certified by BDO Seidman?

4 THE COURT: Let him finish. 4 A. Yes.

5 MR. THOMAS: I'm sorry. I didn't know he 5 Q. And one of your jobs when you did this audit

6 wasn't done. 6 and all the other audits was to ensure that these audits

7 BY MR. THOMAS: 7 were free of material misstatements due to error or

8 Q. Go right ahead, please. 8 fraud, right?

9 A. Also, Mr. Lopez at his deposition gave sworn 9 A. Yes.

10 testimony that he wasn't aware of any payroll problems. [| 10 Q. And if we look over now at page 14, and this

11 Q. That's what he said in his sworn deposition, 11 is again the note about StrataSys. Do you see that?

12 yes? 12 A. Yes.

13 A. Yes. 13 Q. And it says, "An officer of the company is a

14 Q. And in your sworn deposition, when you gave 14 member of the board of managers of a limited-liability

15 testimony, you said you weren't even the alliance firm 15 company from which the company has purchased 45 million

16 liaison, right? 16  imaccounts receivable in 2002."" Right?

17 MS. BITAR: Objection, Your Honor. 17 A. Yes.

18 THE COURT: Sustained. 18 Q. Now, in 2001 according to BDO's internal

19 BY MR. THOMAS: 19 memorandum, there was about a 21 and a half million in

20 Q. Well, Mr. Lenner, in your sworn testimony 20 receivables, right?

21 you stated that all you did was introduce them and then § 21 MS. BITAR: I'm sorry, can you say that

22 you were out of the picture, right? 22 again? I'm sorry.

23 MS. BITAR: Objection, Your Honor. 23. BY MR. THOMAS:

24 THE COURT: Sustained. 24 Q. Yes. Mr. Lenner, according to BDO's own

25 BY MR. THOMAS: 25 work papers in the prior year, there was about 21 and a
Page 2345 Page 2347

1 Q. Mr. Lenner, my question to you is that when 1 _ half million of accounts receivables from StrataSys,

2 you were certifying 45 million dollars in your alliance 2 right?

3 firm partner's accounts receivable at E.S. Bankest, did 3 A. Yes.

4 you know that at the same time they couldn't even make 4 Q. And according to BDO's own internal work

5 payroll? 5 papers for the prior year 2000, there was about 11

6 A. First of all, they are not an alliance 6 million in accounts receivable, right?

7 partner, number one. And secondly, I was not aware nor 7 A. Yes.

8 was Mr. Lopez aware of that. 8 Q. Soif we add those up, 45 million for 2002,

9 Q. So you didn't know at the time that you 9 21 and a half for 2001, how much would that be? F
10 certified the 45 million that they couldn't even make 10 A. About 66 million. if
11 payroll, right? 11 Q. And about 66 million. And then if we add on ;
12 A. I wasn't aware of that, that's correct. I 12 11 for 2000, how much does that make? :
13 was not aware. 13 A. 77 million. ;
14 MR. THOMAS: Your Honor, may I approach? 14 Q. So by this time, 2002, BDO had certified i
15 THE COURT: You may. 15 about 77 million dollars in accounts receivable is real E
16 MR. THOMAS: (Complies). 16 from StrataSys who is your alliance firm member, right? |
17 THE WITNESS: It's okay. 17 A. Yes. ‘
18 MR. THOMAS: Take your time. 18 Q. And Mr. Lenner, the way that worked was when :
19 THE WITNESS: Okay. 19 you were the auditor at E.S. Bankest, when you were ;
20 MR. THOMAS: With your permission, Your 20 wearing that hat, Bankest would get accounts receivable :
21 Honor, I'll approach with Plaintiffs’ Exhibit Number 87 21 from StrataSys, right? ;
22  inevidence. 22 A. Yes. ;
23 (Complies.) 23 Q. They were factoring. And part of BDO's job :
24 BY MR. THOMAS: 24 was to look at those accounts receivable and say whether |

 

Q. Mr. Lenner, this is the 2002 audit of E.S.

 

they were real or fake, right?

  
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 11 of 43

40 (Pages 2348 to 2351)

 

    
   
 
 
 
 
 
 
 
 
 
 
 
 
  

 

    
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  

  

don't, don't. Thank you very much.

LPR, EER SIRS EPL MI ES:

 

 
 

1 SA SESS Aa TS VON OAS PRE UE RET EE DATE E NEC ge

 

Page 2348 Page 2350 ff
1 A. That would be on the books of Bankest when 1 We'll see you on Thursday morning. Leave
2 _ they purchased the receivables from StrataSys. That was 2 your notes.
3 our job. 3 (Thereupon, the jury was escorted out of the
4 Q. To look at the StrataSys receivables to see 4 courtroom.)
5 if they were real or fake, right? 5 THE COURT: Mr. Lenner, you're not to
6 A. Along with all the other receivables that 6 discuss the testimony you've given or the testimony
7 ~~ were being purchased. It wasn't just StrataSys 7 ‘you're about to give with anyone, and that includes your
8 receivables. There were many other receivables. 8 lawyers.
9 Q. Right. You had to say whether all the 9 We'll see you on Thursday morning. Have a-
10 receivables were real or fake, right, not just 10 = good day tomorrow and a good evening.
11  StrataSys? 11 Anything we need to do before we go?
12 A. Yes. 12 MS. BITAR: Not on this end, Your Honor.
13 Q. So for the StrataSys ones you would have to 13 THE COURT: Mr. Thomas?
14 ook at what came from StrataSys and you would say 14 MR. THOMAS: No, Your Honor. Thank you for
15 whether they were real or fake, right? 15 asking.
16 A. Yes. 16 THE COURT: You all have a good evening and
17 Q. And when you were over here, with StrataSys, 17 we'll see you on Thursday morning.
18 right, BDO potentially was going to profit from those 18
19 accounts receivable, right? You can make 20 percent 19
20 from them; isn't that right? 20 (Thereupon, at approximately 5:30 p.m., the
21 A. Yes. 21 above portion of the trial was concluded.)
22 MR. THOMAS: I have nothing further, Your 22
23 Honor. 23 * * *
24 THE COURT: Thank you, Mr. Lenner. 24
25 MS. BITAR: Your Honor, if you'd like to 25
Page 2349 Page 2351};
1 start -- 1 CERTIFICATE OF COURT REPORTER
2 THE COURT: Id rather not. 2
3 MS. BITAR: I just need to take a bathroom 3 I, GIZELLA BAAN, court reporter, before whom
4 break, Judge, so -- 4 the foregoing statement was taken, do hereby certify
5 THE COURT: I'd rather not. 5 that the statement made was taken by me stenographically
6 MS. BITAR: Thank you, Your Honor. That's 6 at the time and place mentioned in the caption hereof
7 fine. — 7 and thereafter transcribed by me to the best of my iu
8 THE COURT: All right. Ladies and 8 ability; that said transcript is a true record of the !
9 gentlemen, all right. I'm going to let you go home. I 9 statement given; that I am neither counsel or, related i
10 want -- wait, let me get Jeffrey down here. 10 ‘to, nor employed by any of the parties to the action in H
11 All right. Thursday morning. 9:30. Same 11° which these proceedings were taken; and further, that I i
12 place. Okay? And you're not to discuss the case 12 amnotarelative or employee of any party hereto, nor
13 amongst yourselves, you're not to allow anyone to 13 financially or otherwise interested in the outcome of ;
14 discuss the case with you or you're not to discuss the 14 this action. :
15 case with anyone else. You're not to form a definite or 15
16 fixed opinion on the merits of the case until you've 16
17 heard all the evidence, the argument by the lawyers and 17
18 the instruction on the law by me. 18 ;
19 You're not to read, hear or see any accounts 19 GIZELLA BAAN :
20 of this case in the media and you're to ignore the 20 Court Reporter and Notary Public Ei
21 lawyers’ presence outside this courtroom and that 21 in and for the State of Florida pi
22 includes the witnesses and they're to ignores yours. 22 |
23 Do you need to pick your stuff up in the 23
24 jury room? Those of you who do, do and those of you who
25

 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 12 of 43

 

 

Page 2352
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

PAGES 2352 - 2445

Volume 20

Miami, Florida
Thursday, April 26, 2007
10:00 a.m.

Before the Honorable Jose M. Rodriguez

 

Reported by: Gizella "Gigi" Baan

 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 13 of 43

2 (Pages 2353 to 2356)

 

 

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WwW

 

 

 

Page 2353 § Page 2355 §
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2  Bemard Mollet, and Joaquin Garnecho
3 On behalf of the Plaintiffs BANCO ESPIRITO SANTO 3
4 INTERNATIONAL, LTD., ET AL.: 4 RICHMAN, GREER, WEIL, BRUMBAUGH,
5 5 MIRABITO & CHRISTENSEN, P.A.
6 SULLIVAN & CROMWELL, LLP 6 Miami Center, Suite 1000
7 1888 Century Park East 7 201 S. Biscayne Boulevard
8 Los Angeles, California 90067 8 Miami, Florida 33131
9 (310) 712-6627 9 (305) 373-4000
10 BY: Steven W. Thomas, Esquire 10 BY: Manuel Garcia Linares, Esquire
11 Emily S. Alexander, Esquire 11
12 12
13. GONZALOR. DORTA, P.A. 13 On behalf of Third-Party Defendant Bernard Mollet
14 334 Minorca Avenue 14
15 Coral Gables, Florida 33134 15 GAMBA & LOMBANA, P.A.
16 (305) 441-2299 16 2701 Ponce de Leon Boulevard, Mezzanine
17 BY: Gonzalo R. Dorta, Esquire 17 Coral Gables, Florida 33134
18 18 (305) 448-4010
19 BERGER SINGERMAN 19 BY: Hector J. Lombana, Esquire :
20 350 East Las Olas Boulevard, Suite 20 Geoffrey Marks, Esquire
21 Fort Lauderdale, Florida 33301 21
22 (954) 525-9900 22 :
23 BY: Mitchell W. Berger, Esquire 23
24 24 e
25 25 i
§
Page 2354 Page 2356)
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2
3 ALYV. AREZ, ARMAS & BORRON 3. EXAMINATION OF SANDOR LENNER BY: PAGE:
4 901 Ponce de Leon Boulevard, Suite 304 4 MS. BITAR: (Cross) 2358
5 Coral Gables, Florida 33134 5 MR. THOMAS: (Redirect) 2427
6 (305) 461-5100 6
7 BY: Arturo Alvarez, Esquire 7
8 8
9 GREENBERG TRAURIG, LLP 9
10 MetLife Building 10
11 200 Park Avenue, 15th Floor 1a
12 New York, New York 10166 12
13. BY: Adam D. Cole, Esquire 13
14 Karen Y. Bitar, Esquire 14
15 15
16 GREENBERG TRAURIG, LLP 16
17 1221 Brickell Avenue 17
18 Miami, Florida 33131 18
19 BY: Mark Schnapp, Esquire 19
20 Nikki Simon, Esquire 20
21 21
22 22
23
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 14 of 43

3 (Pages 2357 to 2360)

 

 

 

 

  

 

 

 

 
 

Page 2357 Page 2359 ‘
1 PROCEEDINGS 1 in 1980 and the Bankest audit began in 1988, correct?
2 THE COURT: Good morning. Are you all 2 A. Yes.
3 ready? Is Mr. Lenner here anywhere? 3 Q. So in those 18 years before you began
4 MS. BITAR: He's outside. He wasn't sure 4 __ working on the Bankest audits, approximately how many
5 whether to sit in here or outside. 5 hours did you spend doing actual auditing work?
6 THE COURT: Go get him. 6 A. I believe about 30 thousand hours.
7 THE BAILIFF: (Complies). 7 Q. And Mr. Lenner, in all those years, and in
8 (Witness takes the stand). 8 all those audits, was your integrity ever called into
9 (Thereupon, the jury was brought into the 9 question by anybody?
10 courtroom.) 10 A. Never.
11 THE COURT: All right, you may be seated. 11 Q. Mr. Lenner, is it proper to work in a
12 Good morning, ladies and gentlemen. I was 12 partnership such as BDO and make money?
13 expecting you all to have your children. That would 13 A. Yes.
14 have been funny. You should have. 14 Q. Is it proper to want to personally make more
15 Hope you had a nice day off yesterday. Hope 915 money?
16 you're ready to go today. You'll have another day off 416 A. Yes.
17 tomorrow. I have a little headache so I'm still trying 17 Q. Isit proper to, as part of your duties as a
18 = to get with it. But I'll get with it in a second. 18 partner, look for business opportunities that will
19 We have a new member of the jury. 19 benefit both you and your firm?
20 (Laughter). 20 A. Yes.
21 So do remember not to discuss the case 21 Q. And is it all right to pursue those business
22 amongst yourselves or with any member of the jury. 22 opportunities?
23 Are you ready? 23 A. Yes.
24 Ms. Bitar, you may start your 24 Q. And with respect to alliances, which we'll
25  cross-examination. 25 talk a little bit more about in a little bit, the
Page 2358 Page 2360
1 MS. BITAR: Thank you, Your Honor. 1 concept of exploring these opportunities is something
2 Good morning, everybody. 2 __ that was not specific to you at BDO, correct?
3 CROSS-EXAMINATION 3 A. Yes.
4 BY MS. BITAR: 4 MR. THOMAS: Objection, Your Honor.
5 Q. Good morning. 5 Leading.
6 A. Good morning, Ms. Bitar. 6 THE COURT: Sustained.
7 Q. Mr. Lenner, you're a partner at BDO, 7 BY MS. BITAR:
8 correct? 8 Q. Mr. Lenner, was all of BDO doing --
9 A. Yes. 9 withdrawn. Were all the partners at BDO doing the same
10 Q. For how long have you been a partner at BDO 10 type of things that you were doing to increase the pie?
11 Seidman? 11 A. Yes.
12 A. Since 1989. 12 Q. Now, Mr. Lenner, is that what's expected of
13 Q. And you're a certified public accountant, 13 partners at BDO?
14 correct? 14 A. Yes.
i5 A. Yes. 15 Q. And based on your observation, is that the f
16 Q. And for how long have you been a certified 16 __ type of activities that are expected of partners and
17 public accountant? 17 professional service firms everywhere? F
18 A. Since 1980. 18 A. Yes,
19 Q. And by the time you had begun to conduct the 19 Q. And is it all right to write a memorandum to i
20  Bankest audits, approximately how many audits do you §20 your bosses to tell them what you've done, both i
21 think you had done either -- let me just correct my 21 _ professionally with your audit practice and with respect
22 question -- as a staff member to partner? 22 to other opportunities so that they're aware of your
23 A. Somewhere between two to three hundred 23 efforts?
24 audits. 24 A. Yes.
25 Q. And can you -- and you received your license 25 Q. Mr. Lenner, how many y people read Who Moved

 
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 15 of 43

 

 

4 (Pages 2361 to 2364)
Page 2361 Page 2363 :
1 the Cheese and that whole series of books, if you know? 1 = of BRFFC in 1995 and 1996, correct? ;
2 A. At that time it was a New York Times best 2 MR. THOMAS: Objection. Leading, Your
3 _ seller, approximately five million copies of ‘the book 3 Honor.
4 sold. It was a very common book that most companies 4 THE COURT: Sustained.
‘5 were requiring that their employees read and BDO was 5 BY MS. BITAR:
6 just one of those companies. 6 Q. What years did you conduct the BRFFC audits,
7 Q. And Mr. Lenner, is it wrong to smell the 7 Mr. Lenner?
8 cheese? 8 A. The audit years were 1995 and 1996.
9 A. No. It's not wrong to smell the cheese. 9 Q. And then in 1997 was there any audit?
10 Q. Thank you, sir. 10 A. There was no audit in 1997.
11 THE COURT: Are you finished? 11 Q. Did you understand why there was no audit?
12 MS. BITAR: No, Judge. 12 A. He just said that --
13 THE COURT: Wishful thinking. 13 MR. THOMAS: Objection. Hearsay, Your
14 (Laughter). 14 Honor.
15 BY MS. BITAR: 15 MS. BITAR: I'll withdraw the question,
16 Q. Mr. Lenner, when you testified on Tuesday 16 Judge.
17 afternoon, do you remember Mr. Thomas put on the boarda [17 BY MS. BITAR:
18 bunch of documents and highlighted a bunch of 18 Q. After the 1996 audit, when was the next time
19 paragraphs? / 19 you dealt with Mr. Parlapiano in connection with any
20 A. He put on many documents. I don't recall 20 audit work?
21 all of them but he did put on some. 21 A. It was for the 1998 audit.
22 Q. Okay. Let me start by asking you this. 22 Q. And that was now the new company Bankest?
23 Let's discuss your relationship with Dominick 23 A. Yes, that was a new company.
24  Parlapiano. 24 Q. So that would have been end of 1998, 1999?
25 Do you remember being asked a series of 25 MR. THOMAS: Objection. Leading.
Page 2362 Page 2364
1 questions by Mr. Thomas about Mr. Parlapiano? 1 THE COURT: Overruled.
2 A. Yes, I remember some of them but not all. 2 THE WITNESS: Yes. That would have been in
3 Q. And you met him at a party in 1995 or 1996; 3 the winter of '98 or January/February of the following
4 is that correct? 4 year, when we would generally do the bulk of the audit
5 A. Yes. 5 work.
6 Q. And you discussed at that party the type of 6 BY MS. BITAR:
7 work you did? 7 Q. I'm not sure I understand. So when would
8 A. Yes. 8 the work be done?
9 Q. And at some point after that party did he 9 A. The bulk of the work would be done in
10 call you to ask if BDO would be engaged to be the BRFFC $10 January/February 1999 for the 1998 audit.
11 auditors? 11 Q. Mr. Lenner, did you like Mr. Parlapiano?
12 A. Yes. After the party he called me and asked 12 A. Yes, he was pleasant. He was professional.
13 ~meif we'd be interested -- 13 And he was knowledgeable.
14 MR. THOMAS: Objection, Your Honor. 14 Q. Did he fool you, Mr. Lenner?
15 Hearsay. 15 A. Iwasn't fooled at that time but now after
16 THE COURT: Sustained. It's also leading. 16 hearing all this testimony and everything I've learned
17. BY MS. BITAR: 17 during these proceedings, we were deceived and fooled.
18 Q. After he called you did you develop a 18 Q. Were you surprised when you heard about what
19 business relationship with Mr. Parlapiano relating to 19 happened at Bankest?
20 BRFEFC? 20 A. Surprised is a very slight word. I was
21 A. Yes. Only a business relationship. 21 shocked and I was just absolutely horrified when I heard
22 Q. And did you get to know him a little bit 22 about this massive fraud. It was terrible.
23 because he was your client? 23

A. Yes.
2. And you and your BDO team conducted audits

 

relationship with Mr. Parlapiano?

Q. And Mr. Lenner, did you have a social :
A. No. We just had a professional Hi

 
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 16 of 43

5 (Pages 2365 to 2368)

 

 

Page 2365 Page 2367
1 relationship. I would meet with him two times, maybe 1 service, we would contact them. If they had a client :
2 three times during the course of the audit, never 2 _ that needed an audit for tax services they would contact
3 socialized with him at all outside of the audit. 3 us. It was basically -- it was just a referral. It was
4 Q. Did you ever go out to dinner with his wife 4  acaptured referral system. We refer clients to them
5 and your wife? 5 and they'd refer clients to us.
6 A. No. Never went out to dinner. 6 Q. Thank you. Let's talk about the strategic
7 Q. Did you ever go to a sporting event with 7 alliance with StrataSys. How did it begin?
8 Mr. Parlapiano? 8 A. Sometime in I think the early part of
9 A. Not one single basketball game, football 9 January of '01, I was having one of my lunches or
10 game, absolutely nothing. 10 = dinners with Mr. Parlapiano and he'd ask asked me a very
il Q. Would you call him up and say, hey, how are 11 simple question: What's new at BDO? And at that time
12 you doing with him, shoot the breeze with him? 12  ~we--Ireally hadn't spoken to him for a year and a
13 A. Rarely. 13 half because the prior time it was with the BRFFC and
14 Q. Did you consider your relationship to 14 that last audit was for 1996. So just bringing him up
15 revolve around your role as the auditor at Bankest? 15 to speed with the new developments at BDO I mentioned to
16 A. Yes. 16 him that we had about a hundred plus CPA alliance firms
17 Q. Were you ever at his house, sir? 17 and we also were developing the IT alliance firm.
18 A. No. 18 So at that time he brought to my attention
19 Q. Ever meet his children? 19 that he'd be interested in meeting --
20 A. I think at the initial cocktail party that I 20 MR. THOMAS: Objection, Your Honor.
21 ~~ met him at, his children might have been there. 21 Hearsay.
22 Q. But other than that, did you have any other 22 THE COURT: Sustained.
23 social contact with him? 23 BY MS. BITAR:
24 A. Absolutely not. 24 Q. Mr. Lenner, let me ask you another question
25 Q. Getting back to the documents we looked at a 25 because I didn't understand something you said. We're
Page 2366 Page 2368
1 couple of days ago, let's take a step back and give some 1 talking about 1996 and you're talking about 2001.
2 perspective about this IT alliance. 2 A. I'msorry.
3 What was the IT alliance? First of all, 3 Q. I just want to make sure I'm understanding
4 what does IT stand for? 4 you.
5 A. IT stands for information technology and it 5 A. All right.
6 _ was an alliance that was designed with IT firms and CPA 6 Q. When did you have this conversation with
7 firms to provide services to our clients in the IT area. 7 Mr. Parlapiano without getting into what was said about
8 At that point we did not have an IT department and we 8 the JT alliance, the StrataSys alliance?
9 thought that would be a need to provide that type of 9 A. It was in the early part of January of 2001.
10 _ service to our clients and for that reason the alliance 10 Q. Now, would you be meeting with
11 concept with respect to IT firms, it was thought about 11 Mr. Parlapiano around that time because that's when
12 at BDO and developed so we could provide those services [[|12 you're beginning to do work on the 2000 audit?
13 to our clients. 13 MR. THOMAS: Objection, Your Honor.
14 Q. And do you remember if StrataSys was one of 14 = Leading.
15 _ the first or one of the later IT alliances that BDO 15 THE WITNESS: Yes.
16 developed? 16 THE COURT: Answered. Overruled. :
17 A. Yes. StrataSys was in the early stage at 17 THE WITNESS: Yes, we'd do the bulk of the ;
18 that point. I think we had about a hundred or so CPA, 18 work, the planning part in January. H
19 that's accounting firm alliances, and we were developing §19 BY MS. BITAR: i
20 = JT alliances and I think they are the third, fourth or 20 Q. And as a result of this conversation did you ;
21 _ the fifth alliance firm that we had in the country. 21 learn that StrataSys -- withdrawn.
22 Q. And can you briefly describe for the members 22 As a result of that conversation, did you
23 of the jury how it was supposed to work, the alliance 23 discuss with Mr. Parlapiano BDO's relatively new IT
24 part of this relationship? 24 _ strategic alliance?
25

A. If we had a client that needed an IT

 

A. Yes. At that time I was telling him about

 
 

Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 17 of 43

6 (Pages 2369 to 2372)

 

     
    
  
  
  
  
  
   
  
 
  
  
  
  

 

Page 2369 Page 2371]
1 the alliance program that we had with respect to CPA 1 A. He was known as the national leader, the
2 firms and the developing IT firms. 2 _ business leader to the IT alliance program that we had
3 (Thereupon, there was a brief discussion off 3s firm-wide.
4 the record.) 4 Q. And this was done on a national level?
5 MS. BITAR: I lost my train of thought. 5 A. Yes, it was.
6 THE COURT: That's what I wanted to avoid. 6 Q. And who was Michael O'Hare? That's another
7 (Thereupon, the court reporter read back the 7 name we've seen in the last few days.
8 requested portion.) 8 A. Michael O'Hare at that time was a board
9 BY MS. BITAR: 9 member who had a responsibility above Mr. Larson in
10 Q. And what happened next? 10 connection with the IT alliance firms.
11 A. There was an interest on his part. 11 Q. And when you say "above Mr. Larson," what do
12 MR. THOMAS: Objection, Your Honor. 12 you mean by that?
13 Speculation. 13 A. Imean Mr. Larson reported to Mr. O'Hare.
14 THE COURT: Sustained. 14 Q. Now, you said you had this discussion with
15 BY MS. BITAR: 15 Mr. Parlapiano and he seemed interested to you.
16 Q. Mr. Lenner, were there followup meetings or 16 MR. THOMAS: Objection, Your Honor.
17 discussions? 17 Speculation.
18 A. Yes, there was a followup meeting and I 18 THE COURT: Overruled. You can answer the
19 introduced him to David Larson at that time who was the § 19 question.
20 head of our IT alliance practice. So that if something 20 MS. BITAR: I was in the middle of it. I
21 was to develop, Mr. Larson and Mr. Parlapiano would be §/21 wasn't done.
22 able to speak together about developing this IT 22 THE COURT: I thought it was a yes or no.
23 alliance. 23. BY MS. BITAR:
24 Q. Now, sir, you're an auditor, correct? 24 Q. When you were talking to Mr. Parlapiano,
25 A. Yes. 25 what was your understanding about why he would be
Page 2370 Page 2372
1 Q. And that means you conduct audits primarily, 1 interested? In other words, what was his relationship
2 right? 2 to StrataSys?
3 MR. THOMAS: Objection, Your Honor. 3 A. He was on the board of managers and he was
4 Leading. 4 also an advisor to StrataSys.
5 THE COURT: Sustained. 5 Q. And so when you were speaking to him about
6 BY MS. BITAR: 6 the IT alliance, is it fair to say you were talking to
7 Q. What does an auditor do, Mr. Lenner? 7 him as a member of the board of StrataSys as opposed to
8 A. I conduct audits. It's over 95 percent of 8 the CFO of Bankest?
9 what Ido. 9 MR. THOMAS: Objection, Your Honor.
10 Q. And do you have any specific expertise in 10 Leading.
11 information technology? 11 THE COURT: Sustained.
12 A. Very little. None. 12 BY MS. BITAR:
13 Q. Do you know how to use a computer to do your 13 Q. In what capacity were you talking to
14 own work? 14 Mr. Parlapiano about StrataSys?
15 A. Yes. 15 A. Asan advisor and a member of the board of
16 Q. Other than that, do you have experience with 16 managers to StrataSys.
17 _ things like main frames and the type and installing 17 Q. Now, did you have an understanding --
18 computer programs and companies and things of that 18 THE COURT: Sorry, Ms. Bitar. This is going
19 nature? 19 tohappena lot.
20 A. Absolutely not. 20 (People walking into the courtroom.)
21 Q. Where was Mr. Larson residing at the time if 21 BY MS. BITAR:
22 you remember? 22 Q. Mr. Lenner --
23 A. I believe it was in Chicago. 23 THE COURT: Hold on. Hold on. One more.
Q. What was Mr. Larson's role as the head of 24 MS. BITAR: May I continue?
the IT alliance? 25 THE COURT: You may.

 

   
  
  
  
  
   
  
  
  
  
    
  
   
 
     
       
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 18 of 43
7 (Pages 2373 to 2376)

 

Page 2373

1 BY MS. BITAR:
2 Q. How were you familiar with StrataSys?
3 A. A couple years before that Mr. Parlapiano
4 had expressed an interest --
5 MR. THOMAS: Objection, Your Honor.
6 Hearsay. ,
7 THE COURT: Overruled.
8 BY MS. BITAR: ,
9 Q. You may answer, Mr. Lenner.
10 A. Thank you. There was an interest at that
11 time. He wanted to introduce --
12 MR. THOMAS: Objection, Your Honor.
13 Speculation about what his wants or interests were.
14 THE COURT: Sustained.
15 BY MS. BITAR:
16 Q. Mr. Lenner, are you aware of introductions
17 that were made as a result of conversations with
18 Mr. Parlapiano?
19 A. Yes. .
20 Q. Tell the jury about those meetings, please.
21 A. Sometime in 1999 he had an interest of --
22 MR. THOMAS: Objection, Your Honor.
23 Speculation.
24 THE COURT: Sustained. Mr. Lenner, you can
25 say what you said and maybe there will be an objection

  

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Page 2375 ,

   

27th, 2001, correct?

A. Yes, it is.

Q. And this is from Mr. Larson who you've
identified, correct?

A. Yes.

Q. To Mr. Hannon?

A. Yes.

Q. And where did Mr. Hannon reside, if you
remember?

A. New York City.

Q. And do you remember what his title was?

A. He was -- I know he was a founder of the
entire alliance concept and he was -- I don't remember
his exact title but he was the number one person
regarding the alliance programs for the firm.

Q. So by way of background in 2001, Mr. Larson
was telling Mr. Hannon about your relationship with
StrataSys and going back to 1999, correct?

MR. THOMAS: Objection. Leading, Your
Honor.

THE COURT: Overruled.

THE WITNESS: Yes.
BY MS. BITAR:

Q. And that's -- do you believe that to be
accurate?

     
           
         
       
         
         
       
     
     

 

Page 2374

 

 

1 or not.

2 THE WITNESS: A meeting was set up with one
3 of my partners and they discussed a potential business

4 relationship which never developed at that point in

5 time. And my partner then was a young lady named
6
7
8

  

Ms. Donna Sabbag who was knowledgeable at StrataSys and
had some very nice comments about the firm. So I was
knowledgeable about the StrataSys IT development
9 activities in Dade County through her.
BY MS. BITAR:
Q. And you heard them, StrataSys, to be a
reputable company, correct?

13 A. Yes.

14 MR. THOMAS: Objection, Your Honor.
15 = Leading.

16 THE COURT: Sustained.

17. BY MS. BITAR:

Q. What was your view of StrataSys?

19 A. It was my understanding that it was a
reputable company.

21 Q. At this point, Mr. Lenner, I'd like you to

look at what's been marked in evidence as Exhibit 439.
Mr. Lenner, I think you have all those exhibits in front
of you.

  

 

So, Mr. Lenner, this is a memo from July

 

 

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Page 2376 f

 

    

A. Yes.
Q. Just give me a second. I'm having trouble
with my pointer. Okay.

And going down to the third paragraph of the
document about StrataSys, if you could block that,
please, Ian.

(Technician complies.)

Is this the type of services you understood
as a result of those meetings that StrataSys provided in
Florida?

A. Yes, exactly those types of services were
provided by them.

Q. Do you know what this stuff means, financial
and ERP system consulting and implementation?

A. Ihave a general knowledge but not a
specific knowledge. I can't say a lot about each item.
I know it relates to IT and some of them relate to the
financial aspects, the network aspects. But I really
don't know how these services are provided to a

               
               
               
             
 

customer.
Q. Now, just to be clear, when Mr. Parlapiano

and Ms. Sabbag were having these meetings in 1999, this

was not in connection with an IT alliance, correct?

MR. THOMAS: Objection.

THE COURT: Sustained.

 
             
     
    
     
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 19 of 43

8 (Pages 2377 to 2380)

 

 

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Page 2377 Page 2379
1 BY MS. BITAR: 1 BY MS. BITAR:
2 Q. Did an alliance exist in 1999? 2 Q. Mr. Lenner, did the strategic alliance with
3 A. No, it did not. 3 StrataSys cause you any concern about a conflict of
4 Q. And Mr. Lenner, going to the bottom of this 4 interest?
5 _ page there's discussion about it says financial 5 A. No.
6 manufacturing and ERP software packages. Do you see 6 Q. Why?
7 ~~ that? 7 A. For a couple of reasons. First of all, it's
8 A. Yes. 8 perfectly okay --
9 Q. And it talks about things such as being a 9 MR. THOMAS: Objection, Your Honor.
10 reseller of software of Sage Software Enterprises and 10 THE COURT: Overruled.
11 various specific software products. Do you see that? 11 THE WITNESS: You're allowed to have a
12 A. Yes. 12 business relationship with a customer of your client or
13 Q. Do you have an understanding about what this 13 a vendor of your client.
14 stuff is? 14 Secondly, this was cleared through our
15 A. This is software that is used by large 15 national office. It was vetted -- well vetted at BDO.
16 institutional type of companies. It's not for smaller 16 BYMS. BITAR:
17 companies. It's -- I just know who uses it. I do not 17 Q. And so individuals -- when you say vetted at
18 know how it works or how why it works. 18 the national office, what do you mean by that?
19 Q. That's something Mr. Larson would know 19 A. It was discussed --
20 = about? 20 MR. THOMAS: Objection, Your Honor.
21 A. Yes, he would certainly know about how the 21 Hearsay.
22 software packages worked. 22 THE COURT: Sustained.
23 Q. Now, -- I'm done with the document. Thank 23 MS. BITAR: Your Honor, this is
24 = you. 24  cross-examination. I don't think he's going to get into
25 THE COURT: Let's stop right there for a 25 the substance of the testimony.
Page 2378 Page 2380 :
1 second. Ladies and gentlemen, I want to let some people 1 THE COURT: Well, I don't know what the
2 come in. I'm sure they are dying to come in. I'm going 2 answer is going to be.
3 to let you go back to the jury room. Do not discuss the 3 Stop right there. We'll pick this up at a
4 case amongst yourselves. Don't get too comfortable. If 4 later time. And there's a reason for that.
5 you need to go to the bathroom, it's a good time. 5 Ladies and gentlemen, there's been a bomb
6 (Thereupon, the jury was escorted out of the 6 threat. Therefore, ladies and gentlemen, do not discuss
7 courtroom.) 7 the case amongst yourselves. And don't talk to anybody.
8 THE COURT: Mr. Lenner, you can go outside 8 Pick up your things from the jury room. Do not leave
9 fora minute. Go to the bathroom or have a seat and be 9 the area; just go downstairs. Go outside the building
10 comfortable. 10 ~=andI'm sure -- I'll stay but I can't keep you guys. Go
11 (Thereupon, a brief recess was taken.) 11 ahead. I got notified. So don't go too far. Go
12 THE COURT: Are you all ready? We'll try to 12 outside. And wait around until we're ready. Go outside
13 keep the interruptions down to a minimum. 13 the courthouse. Leave the building.
14 MS. BITAR: It's not your fault, Judge. 14 (Thereupon, the jury was escorted out of
15 _ It's one of those things. 15 the courtroom.)
16 THE COURT: I don't know why the attorneys 16
17 come in the front of the podium instead of behind. I 17 (Whereupon, at 10:50 a.m., a luncheon recess
18 = don't understand that. 18 was taken.)
19 THE CLERK: All rise for the jury. 19
20 (Thereupon, the jury was brought into the 20
21 courtroom.) 21 * * *
22 THE COURT: All right, you may be seated. 22
23 Ms. Bitar, you may continue at your own risk. 23
24 (Laughter). 24
25 MS. BITAR: Just my luck, Judge. 25

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 20 of 43

9 (Pages 2381 to 2384)

 

 

 

Page 2381 Page 2383 B
1 AFTERNOON SESSION 1 principals from StrataSys.
2 (1:45 p.m.) 2 Q. And Mr. Lenner, at any of the times that you
3 Thereupon, 3 _went to StrataSys, did you go there for the single
4 SANDOR LENNER, 4 purpose of visiting Dominick Parlapiano?
5 was recalled as a witness and, having been previously 5 A. No.
6 duly sworn, was examined and testified further as 6 Q. Were your meetings in connection with
7 ~~ follows: 7 alliance-related objectives?
8 THE COURT: You all ready? 8 MR. THOMAS: Objection, Your Honor.
9 MS. BITAR: Yes, Your Honor. 9 Leading.
10 THE COURT: Bring them in. 10 THE COURT: Sustained.
11 MS. BITAR: Should we bring in Mr. Lenner §11 BY MS. BITAR:
12 first? 12 Q. What were your objectives in going there,
13 THE COURT: That would be a good idea. 13. Mr. Lenner?
14 THE BAILIFF: (Complies.) 14 A. The purpose of the meetings were for them to
15 MS. BITAR: Should I get him, Judge? 15 get to know about BDO and for us to get to know about
16 THE COURT: He went to get him. 16 them. That was it.
17 (Thereupon, there was a brief pause.) 17 Q. Mr. Lenner, when you visited StrataSys, did
18 THE BAILIFF: All rise for the jury. 18 you notice if Dominick Parlapiano had an office there?
19 (Thereupon, the jury was brought into the 19 A. Inever saw his office there.
20 courtroom.) 20 Q. Now, right before the break, we were talking i
21 THE COURT: Allright. You may be seated. [21 about the issue of a possible conflict of interest
22  Jhope you had a good time off. 22 because of StrataSys. Do you remember generally that
23 Ms. Bitar, you may continue with your 23 testimony? :
24 — cross-examination. 24 A. Yes, Ido. i
25 MS. BITAR: Thank you, Your Honor. 25 Q. And before we broke, you were in the middle
Page 2382 Page 2384
1 Good afternoon, ladies and gentlemen of the 1 of explaining why you did not believe there was a ;
2 jury. 2 conflict of interest. Could you continue with your fi
3 CROSS-EXAMINATION (continued) 3 answer, please, sir. fl
4  BYMS. BITAR: 4 A. Yes. We gave it a lot of thought. And it :
5 Q. Good afternoon, Mr. Lenner. 5 _ was clearly known at that time that you can have a
6 A. Good afternoon, Ms. Bitar. 6 business relationship --
7 Q. Before we broke for lunch for the bomb 7 MR. THOMAS: Objection, Your Honor.
8 scare, we were talking about StrataSys. Do you recall 8 THE COURT: What's your objection? '
9 that? 9 MR. THOMAS: Opinion testimony.
10 A. Yes. 10 THE COURT: Overruled.
11 Q. Let me ask you some preliminary questions. 11 THE WITNESS: -- with a customer of your fl
12 When you had discussions with your partners about the 12 audit client or a vendor of your audit client. As long :
13 potential of an alliance with StrataSys in 2001, did you 13 as you don’t have a business relationship with the audit E
14 go and visit StrataSys? 14 client. That's what you can't do. And this was vetted
15 A. No. 15 out with the people at BDO and it was a perfectly :
16 Q. How many times would you say you visited 16 acceptable alliance program. ;
17  StrataSys? 17 BYMS.BITAR: :
18 A. During the two years that -- in the two-year 18 Q. Now, Mr. Lenner, you've been sitting here as :
19 period we -- or I visited StrataSys somewhere between 19 the BDO representative, correct? H
20 four to five times. 20 A. Yes, i
21 Q. And was that -- what was the reason for 21 Q. And that meant you've heard some of the
22 those visits? 22 testimony of some of the other people in the case, :
23 A. One may have been an introductory meeting. 23 right? :
24 And I think we had one or two where it's called meet and 24 A. Yes.
25 greet, where the partners from BDO would be meeting the §/25 Q. Do you remember Mr. Freeman at the inception —

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 21 of 43

10 (Pages 2385 to 2388)

 

 

Page 2385 Page 2387
1 of the trial showing the jury some documents and 1 what the true purpose or what -- or what those shares
2 discussing the fact that Bankest might have an ownership 2 represented and who factually owned them.
3 stake in StrataSys? 3 Q. Assuming for purposes of my question,
4 A. Yes. 4 though, that it was Bankest's, when you get past a
5 Q. Are those documents you had ever seen before 5 50-percent-ownership stake, does that impact the books
6 this case? 6 and records?
7 A. Inever saw those documents until this case. 7 A. Yes, that would be a consolidation. So not
8 Q. Now, Mr. Lenner, did you have any belief 8 only would the investment be there, you would
9 whatsoever that Bankest had an ownership stake in 9 consolidate substantially all of the operations of
10 = StrataSys? 10 __ StrataSys into E.S. Bankest's books and records.
11 A. Thad no understanding about whatsoever. 11 Q. And, in fact, isn't that what happened with
12 Q. What was your understanding, sir? 12 respect to the Espirito Santo Bank of Florida's
13 A. That StrataSys was independently owned by 13 financial statements relating to its 50-percent stake in
14 the four principals of StrataSys, and that E.S. Bankest 14  Bankest?
15 had no interest, no financial interest, no ownership 15 A. Yes.
16 interest in StrataSys whatsoever. 16 Q. Now, this alliance didn't start until the
17 Q. In connection with these meet and greets 17 _ end of 2001; is that right?
18 you've been telling the jury about, were the people who 18 MR. THOMAS: Objection, Your Honor.
19 were the owners of StrataSys introduced to the people at $19 Leading.
20 BDOas the owners? 20 THE COURT: Overruled.
21 A. Yes. 21 THE WITNESS: It started in I think the -- :
22 Q. And as you sit here today, do you remember 22 in August of 2001.
23 their names? 23 BY MS. BITAR: F
24 A. Yes, Ido. It was Mr. Arnie Girnun. There 24 Q. Did the alliance relationship impact any E
25 was Mr. Howard Cantor. Mr. Jay Pierce. AndI believe [25 audits prior to 2001? e
Page 2386 Page 2388
1 _ the final individual was Mr. Tony Ronconi or Anthony 1 A. No, whatsoever.
2 Ronconi. 2 Q. Now let's talk about after 2000. Was it
3 Q. Now, Mr. Lenner, you're familiar, obviously, 3 your understanding that the audits of Bankest changed in
4 with the books and records of Bankest, right? 4 any way after the alliance with StrataSys was created? }
5 A. Yes. 5 A. No. They did not change at all. In the ;
6 Q. If Bankest had an ownership stake in 6 year 2000 we went to a controls-based testing. And we ;
7  StrataSys, would the books and records of Bankest 7 continued that same approach in 2001. There was no F
8 reflect that in any way? 8 change whatsoever.
9 A. Yes, they would. 9 Q. Mr. Lenner, did you ever see any financial e
10 Q. How would they do that? 10 statements of StrataSys? ;
11 A. If they had an interest in StrataSys, it 11 A. No. Fl
12 would be called -- it would be called an investment in 12 Q. Mr. Lenner, did BDO audit any aspect of :
13 StrataSys because they would own -- if they owned the 13 StrataSys' financial statements? :
14 stock of StrataSys, then that ownership, that stock 14 A. No, we did not audit StrataSys. We were the ;
15 _ would be an asset on the books of E.S, Bankest. 15 auditors for E.S. Bankest. ;
16 Q. And some of those documents we looked at 16 Q. Did you audit any of StrataSys receivables? ;
17 talked about approximately 70 percent of the shares of 17 A. We did not audit StrataSys receivables only ;
18  StrataSys being pledged or guaranteed to Bankest. How 18 to the extent that E.S. Bankest would purchase them, i
19 would that amount, the 70-percent stake, impact the 19 then they would become the receivables of E.S. Bankest. A
20 books and records of Bankest? 20 And in that regard they were audited as well as the 3
21 A. Well, I wasn't even sure what that document 21 other hundreds of receivables that were owned by E.S. i
22 meant. It's a legal document. And I don't know whether 22  Bankest. There was no different treatment at all :
23 the shares were actually owned by E.S. Bankest or 23 whatsoever. 3
24 whether they were just pledged as collateral. So it's 24 Q. Mr. Lenner, did you have any audit :
25 hard to answer your question because I really don't know F

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 22 of 43

11 (Pages 2389 to 2392)

 

  
  
  
  
 
 
 
 
 
 
 
 
 
 
 
 

   
  
  
  
  
  
  
   
  
  
  
  
   
  
 

 

    
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   

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Page 2389 Page 2391 '
1 A, No, because it was not an audit client. 1 Q. And is it correct that by this memo,
2 Q. Let's turn now to Exhibit 440 in evidence. 2 Mr. Larson is telling Mr. Kron, Mr. Godoy, and you that
3 This is a document Mr. Thomas showed you on Tuesday, 3 he had selected you to that be person, right?
4 correct? 4 MR. THOMAS: Objection, Your Honor.
5 A. Yes. 5 Leading.
6 Q. Going to the top of the document, we have 6 THE COURT: Overnuled.
7 some new names here. You've identified Dave Larson. 7 THE WITNESS: That's correct.
8 A. Yes. 8 BY MS. BITAR:
9 Q. Who was Richard Kron? 9 Q. Does it surprise you that Mr. Larson would
10 A. Richard Kron at that time was the managing 10 justify that decision by playing up your importance in
11 partner of the Miami office. 11 that relationship?
12 Q. And who was Ed Godoy? 12 A. No, it doesn't surprise me at all. Mr. Kron
13 A. He was a tax partner in the Miami office. 13 was very persistent about it. He was the managing
14 Q. And there was discussion on Mr. Thomas' 14 partner of the office and he wanted this role.
15 direct of your role as the alliance firm liaison. Do 15 Q. Now, Mr. Kron instead became the assurance
16 you remember that? 16 business line coordinator; is that right?
17 A. Yes. 17 A. Ibelieve so. I don't remember a hundred
18 Q. And you gave some testimony that, reading 18 percent.
19 from this document, you were the single point of 19 Q. Mr. Lenner, it says in the top --
20 contact. Do you remember those words? 20 MS. BITAR: Can you go to the top of the
21 A. That's what the document says. 21 document, Jan?
22 Q. Could you explain to the members of the jury 22 (Technician complies.)
23 what exactly your point of contact was, what your 23 BY MS. BITAR:
24 responsibilities were as the alliance firm liaison? 24 Q. It says the assurance business line leader.
25 A. Well, it says right here that -- in the 25 It says, ''The assurance business line coordinator is
Page 2390 Page 2392
1 second sentence -- this individual is responsible for 1 appointed by the local assurance practice leader. The
2 maintaining the local information base on the alliance 2 assurance coordinator's responsibilities include
3 firm and assisting the technology alliance program 3 identifying opportunities for involving the technology
4 management team in managing the relationship with the 4 alliance firm in assurance business line engagements."
5 alliance firm. 5 What does assurance mean, Mr. Lenner?
6 Then it goes on to say exactly what this 6 A. It means audit, basically. It's an audit
7 local information base. And that's a very key operative 7 ~~ function.
8 part of this paragraph because it explains what the role 8 Q. "Developing business leads within the
9 is. And the role was just basically to manage the 9 assurance client base."
10 referrals, the joint proposals, and projects between the 10 Does that mean with audit clients?
11 two entities. And at that point in time, which was in 11 A. Yes.
12 September, it was the process that I would just ask the 12 Q. "For the technology alliance firm and for
13 _ other partners what their activities were and I would 13 coordinating the resolution of any conflict or
14 periodically report it. And then I think in January of 14 independence issues. The assurance coordinator is
15  '02 or towards the beginning of the next year, the 15 responsible for keeping the liaison firm liaison up to
16 process became -- it became computerized. So it was 16 date on all business development or relationship issues
17 just a way for us to manage the referrals between the 17 with the alliance firm.” Is that right?
18 two entities. Nothing else than that. 18 A. Yes.
19 Q. Mr. Lenner, when you say manage it, what did 19 Q. And going to the bottom of the document it
20 you mean by that? Keep track of it? 20 says, "Because Mr. Lenner identified, championed, and
21 A. Yes. Just keep track of it and report back 21 helped negotiate the alliance agreement, Sandy is the
22 to Mr. Larson. 22 logical choice to be the liaison." Correct?
23 Q. Now, did you understand that Mr. Kron wanted § 23 A. Yes.
24 that job? Q. It's accurate that you identified the
25 A. Yes. StrataSys relationship, correct?
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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 23 of 43

Page 2393

12 (Pages 2393

Page 2395 ff

to 2396)

    
   
 
  
   
   
  
 
  
  
  
  
   
  

 

 

  

 

1 A. Yes, I was the person that brought this 1 THE COURT: You may.
2 opportunity to Mr. Larson. I identified StrataSys. 2 MS. BITAR: (Complies.)
3 Q. Did you think it was a good idea at the 3 And if you can blow up the to and from,
4 time? 4 please.
5 A. Yes. 5 (Technician complies.)
6 Q. And did you help negotiate the alliance 6 BY MS. BITAR:
7 agreement with StrataSys? 7 Q. Are you familiar with the document, sir?
8 A. The negotiations were primarily handled by 8 A. I've only come to become familiar with this
# 2 Mr. Larson. I was involved in a couple of phone calls 9 document during the course of this trial. I never
10  atmost. That was -- I really had a limited involvement 10 = saw --
11 in the negotiations. 11 Q. I'msorry. That was going to be my
12 Q. Would it be fair to say you were 12 question. Have you ever seen this document before?
13 _ facilitating the negotiations? 13 A. No.
14 A. Yes. I was the friendly face because I was 14 Q. Was this ever submitted to you for any sort
15 the local partner. I got to know Mr. Arnie Girnun anda §15 of review?
16 couple of the other principals. And when the firm 16 A. No.
17 _ brings in an alliance firm and they use the national 17 Q. And is this a document that comes from BDO?
18 resources, they always want a local partner involved to 18 A. No.
19 help facilitate. So I was basically there because they 19 Q. How do you know that, sir?
20 = felt comfortable with me. So I didn't have an active 20 A. Because the to and from, they're not BDO
21 _ role in the negotiations. Some but not much. 21 employees, and there's no BDO letterhead or BDO memo
22 Q. And, in fact, the negotiations related to 22 sign here at all.
23 the alliance agreement; is that correct? 23 Q. Now, this is from Dominick Parlapiano,
24 A. Yes. 24 correct?
25 Q. And are you familiar with the terms and 25 A. Yes.
Page 2394 Page 2396 ‘
1 _ conditions relating to an information technology 1 Q. And he's reporting to his bosses, Eduardo
2 alliance agreement? 2  Orlansky and Hector Orlansky?
3 A. No. That's a very lengthy document, and I 3 A. Yes.
4 don't have a big understanding about that document at 4 Q. And to Mr. Stanham and Mr. Mendez, correct?
5 all. 5 A. Yes.
6 Q. I'm done with the document. Thank you. 6 Q. And all five of these individuals are
7 Mr. Lenner, for championing the StrataSys 7 ~~ criminals, right?
8 relationship, did you get -- did you make any money for 8 A. Yes.
9 yourself? 9 Q. And they were all indicted or either pled
10 A. Yes. 10 guilty or are awaiting sentence, correct?
11 Q. How much money did you make, sir? 11 A. Yes.
12 A. $7,500. 12 Q. Let's talk about what's accurate in this
13 Q. And was that in the nature of a -- is that a 13 memo. Going to the first paragraph, it references a
14 yearly amount or is that a one-time fee? 14 meeting, a meeting on or about May 24th, 2001, correct?
15 A. It was a one-time fee that was given to me. 15 A. Yes.
16 Q. I'd like you to look, please, now at 16 Q. In BDO's offices?
17 Exhibit 471 in evidence. It's one of the other 17 A. Yes.
18 documents that we looked at on Tuesday. 18 Q. Do you recall that meeting?
19 Now, Mr. Lenner this is not a BDO document, 19 A. Ihave a recollection that a meeting
20 ~— isit? 20 occurred on or about May of that year.
21 A. Just one second, please. 21 Q. And is that the meeting you talked about
22 Q. Oh, sure. I have another copy if you want. 22 with Mr. Thomas where Mr. O'Hare was present?
23 A. Okay. That would be helpful. 23 A. Yes.
24 Q. Sure. 24 Q. It states here, in attendance were Sandy,
25 MS. BITAR: May I approach, Judge? 25 Dave Larson of BDO's Star Wagon, their technology

  

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 24 of 43
13 (Pages 2397 to 2400)

 

 

    
   
   
    
   
 
  
  
  
  
   
   
    
    

 

Page 2397 Page 2399 §
1 company. What does that mean, if you know? 1 Q. And just to give some perspective, what were
2 A. Star Wagon was a subsidiary that was owned 2 the amnual revenues of the Miami office that year?
3 by BDO. So effectively it's BDO. 3 A. Roughly speaking, about $3 million. So this
4 Q. But was that the technical entity that was 4 was more than triple any business that we could even --
5 the alliance, the BDO alliance side of the equation? 5 we couldn't even dream of getting this amount of
6 A. Right. Any alliance firms with respect to 6 business in one year into our firm, let alone referring
7 YT were put through this Star Wagon subsidiary. 7 it to StrataSys. It's a huge number.
8 Q. And that was what Mr. Larson was responsible 8 Q. It says, Separately, Sandy asked Mr. O'Hare
9 for, right? 9 to mention his efforts related to establishing a BDO
10 A. Yes. 10 finance company."
11 Q. And then is says, "Also present was Michael 11 Do you remember anything about a BDO finance
12 O'Hare -- or Michael G. O'Hare. Mr. O'Hare sits on the 12 company?
13 board of the parent company of BDO." 13 A. Iremember we spoke about this concept here
14 Mr. Lenner, was there a board of a parent 14 but we don’t have -- BDO has no BDO finance company that
15 company of BDO? 15 I'maware of.
16 A. No, that's not correct. 16 Q. It goes on to say, "Given the insight into
17 Q. Is there a parent company of BDO? 17 ‘the now difficult and getting tougher by the day cash
18 A. No, there's no parent company. 18 flow environment of small and midsize companies, BDO
19 Q. It then goes on to say he's an executive 19 sees an opportunity to provide cash flow financing
20 director. At the time that you met with Mr. O'Hare and 20 _ services to its clients and that of companies who are
21 Mr. Larson and Mr. Parlapiano, did you know he had the [21 members of BDO alliances."
22 title of executive director? 22 Do you understand what Mr. Parlapiano is
23 A. No. 23 talking about here?
24 Q. You know that now? 24 A. No.
25 A. Yes. 25 Q. The next paragraph talks about what
Page 2398 Page 2400
1 Q. And then it states, "and is the 1 Mr. Parlapiano is saying Mr. O'Hare was clear about.
2 highest-ranking corporate officer related to 2 Namely, that BDO doesn't intend to take principal risk,
3 non-accounting BDO companies such as Star Wagon." 3 credit, client risk, et cetera, and will not use its own
4 Mr. Lenner, do you have any understanding 4 balance sheet to assets. What Mr. O'Hare said was about
5 that Mr. O'Hare was the highest-ranking corporate 5 a$200 million a year in accounts-receivable-based
6 _ officer related to non-accounting BDO companies? 6  eash-flow lending, which BDO's finance company partner
7 A. No, I don't even know what that sentence 7 ~~ would fund.
8 means. But he certainty wasn't the highest-ranking 8 Do you have any idea what Mr. Parlapiano was
9 corporate officer. 9 talking about in this portion of the memo where he's
10 Q. The memo goes on to say that the meeting was 10 reporting up to his bosses about his successes with you
11 held to finally negotiate the final terms of the 11 at the meeting?
12  BDO/Star Wagon alliance agreement, correct? 12 A. No. I have no idea where this $200 million
13 A. Yes. 13 number came from. It's such a huge number I think I
14 Q. Indicates that Mr. Cantor was there and 14 would remember it, but I just don't recall it at all. I
15 Mr. Parlapiano as a director, correct? 15 don't even think it happened.
16 A. Yes. 16 Q. Do you think Mr. Parlapiano made this up?
17 Q. And it said that "We're shooting for an 17 A. I think so.
18 executed agreement. BDO estimates it will originate 18 Q. The next page of the document explains
19 more than $10 million in business to the 19 Mr. Parlapiano's interest in having you and Mr. O'Hare
20 = StrataSys/BDO/Star Wagon alliance over the next 12 20 _ visit us up here at Bankest to further discuss the
21 months." 21 possibility. And then it goes on to discuss some of the
22 Mr. Lenner, do you have any idea where 22 terms and conditions that would be associated with the
23 Dominick Parlapiano got this $10 million number from? §[23 venture.
A. Ihave no idea where he got this number 24 Do you understand what this means,

 

from. It's a huge number.

 

   

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 25 of 43

14 (Pages 2401 to 2404)

 

 

Page 2401 Page 2403 §

1 ES. Bankest owing the client directly, i.e., each 1 A. No, there was no second meeting.

2 acceptable BDO client would become an E.S. Bankest 2 Q. Did you later learn that Mr. O'Hare really

3 client and that all the business would be subject to 3 had no interest in proceeding in this way?

4 Bankest's underwriting and that Bankest could service 4 A. Yes.

5 the funds access cash-flow financing without recourse to 5 MR. THOMAS: Objection, Your Honor.

6 BDO and with recourse to the clients directly? 6 Hearsay, speculation.

7 A. Ihave no idea where he's getting this from. 7 THE COURT: Overruled.

8 Q. Do you understand what it means? 8 BY MS. BITAR:

9 A. Not really. 9 Q. You may answer, sir.
10 Q. Now, to the extent there was any discussion, 10 A. Yes. Sometime a couple months later, I
11 it says this -- "My impression was confirmed this 11 think in either October or November, we had our annual
12 morning by Sandy who related that Mr. O'Hare wantsto §/12 partner's meeting. And I just followed up with
13 _ visit E.S. Bankest sometime in the second half of June 13 Mr. O'Hare and asked him what was going on --
14 to further discuss." 14 MR. THOMAS: Objection. Hearsay.
15 Did you tell Mr. Parlapiano that Mr. O'Hare 15 THE COURT: Sustained.
16 wanted to come to E.S. Bankest to further discuss this? 16  BYMS. BITAR:
17 MR. THOMAS: Objection. Hearsay, Your 17 Q. After the conversations, did you develop an
18 Honor. 18 understanding that nothing was going on with this?
19 THE COURT: Sustained. 19 MR. THOMAS: Objection, Your Honor.
20 BY MS. BITAR: 20 Hearsay.
21 Q. Mr. Lenner, did you -- what did you discuss 21 THE COURT: Overruled.
22 with Mr. Parlapiano about going to Bankest -- about 22 THE WITNESS: That's correct. Nothing ever
23 Mr. O'Hare going to Bankest in the second half of June? § 23 happened.
24 MR. THOMAS: Objection. Hearsay. 24 BY MS. BITAR:
25 THE COURT: Sustained. 25 Q. Mr. Lenner, do you remember on Tuesday

Page 2402 Page 2404]

1 BY MS. BITAR: 1 Mr. Thomas showed you various E.S. Bankest financial

2 Q. Mr. Lenner, is this paragraph accurate? 2 statements?

3 A. No. 3 A. Yes, he showed me some.

4 Q. Did you place a call to Mr. Parlapiano and 4 Q. And do you remember he showed you

5 arrange for any meeting with Mr. O'Hare? 5 Exhibit 67? J think it's on the table. This is

6 A. No, I don't remember any of this. 6 financial statements for year-ended December 31, '02 and

7 Q. And lastly, in the second to last paragraph 7 ‘O1.

8 there's a discussion that -- in which Mr. Parlapiano is 8 A. Yes.

9 reflecting information you conveyed about separating BDO 9 Q. And do you remember you gave some testimony
10 as broker from E.S. Bankest as a banker, and that BDO 10 about the footnote disclosure on the last page of the
11 already had a similar arrangement with an insurance 11 document is wrong?
12 brokerage. Do you have any idea what Mr. Parlapiano is 12 A. Yes.
13 _—_ discussing with respect to this paragraph? 13 Q. And you also testified that the balance ‘
14 A. No. 14 sheet was right. Do you recall that testimony? i
15 Q. The idea of BDO as broker and Bankest as a 15 A. Yes. :
16 banker, did that come from you, sir? 16 Q. And Mr. Thomas asked you some questions Hl
17 A. No. 17 about is actually wasn't right because many of these ;
18 Q. Notwithstanding there was some discussion 18 were fake. Do you remember that testimony generally? A
19 about some sort of financing arrangement, did anything 19 A. Yes. i
20 come of it? 20 Q. I just want to ask you one question about :
21 A. Nothing happened from this. Nothing came 21 the document. When you said the balance sheet was ;
22 from this at all. 22 right, what did you mean by that? :
23 Q. Was there a second meeting that Mr. O'Hare 23 A. What I meant by that was that the -- all the
24 came in and attended to discuss the alliance, a 24 assets that we had examined as part of our audit, the

  

factoring alliance?

 

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hundred or so million dollars that was on their balance

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 26 of 43

 

 

 

 

15 (Pages 2405 to 2408)
Page 2405 Page 2407 8
1 sheet, we performed our tests. They were the amounts 1 Bankest and you had a strategic alliance with StrataSys?
2 that we saw in the lead sheet. And we were satisfied at 2 MR. THOMAS: Objection, Your Honor.
3 that point in time that the balance sheet was -- that 3 Speculation.
4 those assets were real. 4 MS. BITAR: I'll rephrase it, Judge.
5 Q. My question is a little bit different. 5  BYMS. BITAR:
6 Could you explain to the jury what you meant with the 6 Q. Based on your dealings with Mr. Parlapiano
7 understanding that the footnote amount, the 7 at meetings and at -- whether at Bankest or at
8 $3.2 million, is wrong? 8  StrataSys, did you understand Mr. Parlapiano knew that
9 A. Yes. What I meant by that was I said that 9  Bankest was -- that BDO was Bankest's auditor?
10 the balance sheet is correct, the financial statements 10 MR. THOMAS: Objection, Your Honor.
11 are correct, the lead sheet that Mr. Thomas put up on 11 THE COURT: Overruled.
12 the screen was correct, the footnote was not correct. 12 THE WITNESS: Yes.
13 And it wasn't even a requirement for Generally Accepted 13. BY MS. BITAR:
14 Accounting Principles. 14 Q. And did you have similar conversations with
15 Q. Mr. Lenner, let me ask you a question one 15 Mr. Girnun and Mr. Cantor at StrataSys?
16 other way. The outstanding StrataSys receivables for 16 MR. THOMAS: Objection, Your Honor.
17 that audit opinion were closer to $29 million, correct? 17 Hearsay.
18 A. Yes. 18 THE COURT: It’s a yes-or-no question. It's
#19 Q. Was that $29 million reflected on the 19 either yes or no.
20 balance sheet? 20 THE WITNESS: Yes.
21 A. Yes. In the balance sheet was a 29 million 21 BY MS. BITAR:
22  StrataSys receivables, it was in the footnotes, 22 Q. Okay. Let's continue with how this alliance i
23 29 million was in the lead sheet. All that was 23 ended. How did the big $10 million alliance with
24 incorrect was the footnote. 24 ~~ StrataSys turn out? :
25 Q. Thank you. Getting back to the question of 25 A. It really never went anywhere. There was
Page 2406 Page 2408 #
1  aconflict of interest. Did you believe that you were 1 very, very little business between us. I think there
2 objective in your audits of Bankest? 2 was one small referral. That was it. Nowhere near
3 A. Yes. 3 10 million. Nowhere near a million. It just wasn't --
4 Q. Did you have any question about your ability 4 it never went anywhere. They were --
5 to be objective? 5 Q. Let me just ask another question. Why do
6 A. No. 6 you think it didn't go anywhere?
7 Q. Why do you think you were objective? 7 A. Because their client base was different than
8 A. We did not change our approach from the year 8 our client base. They were geared towards very large
9 2000. It was the same approach that we did in 2001. 9 institutional type of companies such as Baptist
10 These receivables were no longer the receivables of 10 Hospital, Mercy, FIU. Our practice at BDO at that time
11  StrataSys. They were one of the -- they were one of 11 and still now, we are a middle-market firm. We don't
12 many receivables that were on the books of E.S. Bankest. —12 really handle here in Miami these institutional large
13 That's what we were auditing. They were treated no 13  megacompanies. We have smaller companies, that middle
14 differently. They were in our sample selection. They 14 market. So it really -- we really weren't able to offer
15 weren't treated any differently than any other 15 them the types of referrals that they were looking for.
16 receivable was purchased by E.S. Bankest. 16 And likewise, they weren't able to offer us the
17 Q. Mr. Lenner, did you consider issues of 17 referrals. It didn't work out.
18 objectivity when you took on the 2001 audit after BDO 18 Q. Now, do you remember during, I think it was
19 had a strategic alliance with StrataSys? 19 Mr. Freeman's testimony, the jury saw the alliance
20 A. Yes. 20 agreement? :
21 Q. And did you determine that you could be 21 A. Yes. Y
22 objective? 22 Q. That was up on the screen. Do you remember :
23 A. Yes. 23 that there was some reference in the document that the Bl
24 Q. And was Dominick Parlapiano aware from 24 alliance fee that BDO was going to receive was $75,000?
discussions with you about the fact that you audited 25 A. Yes.

 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 27 of 43

16 (Pages 2409 to 2412)

 

      
   
  
   
   
   
   
 
  
   
  
  
 

 

Page 2409 Page 2411 :
1 . Q. Do you know how that licensing number was 1 A. Yes.
2 set? 2 Q. And then there was supposed to be these
3 A. No. 3 __ referral fees you talked to Mr. Thomas about. Do you
4 Q. Who set the fee? 4 remember that?
5 A. It was by Mr. Larson. 5 A. Yes.
6 Q. And do you know what factors Mr. Larson 6 Q. And that -- the way that was supposed to
7 looked at to come up with that amount? 7 work is that if there was referrals, BDO would get a
8 A. None. 8 commission on that, 10 or 20 percent. That's what you
9 Q. Do you know if that fee, it was ultimately 9 testified to, sir?
10 ~— paid? 10 MR. THOMAS: Objection. Leading, Your
11 A. No, I don't think it was paid. 11 Honor.
12 Q. What do you remember happening about the 12 THE COURT: Overmuled.
13 = $75,000? 13 THE WITNESS: Yes.
14 A. Iremember that it was reduced because they 14 “BY MS. BITAR:
15 were not getting any referrals. It went down to 15 Q. You said that you recall that there was one
16 1.4 thousand a month. It was -- I think it was about 16 ‘referral. You said that earlier this afternoon; is that
17 6,000 a month, was the original starting point. Then it 17 right?
18 went down to 4,000. They weren't getting referrals and 18 A. Yes.
19 they negotiated down to 3,000 a month. And then finally [19 Q. Did BDO receive any referral fee from that
20 it was negotiated down to $1250 a month. 20 one referral?
21 Q. Do you know what BDO's entire gain was from 21 A. No, we did not.
22 _ this licensing arrangement? 22 Q. And do you know why that was?
23 A. Yes. 23 A. Yes, because it was an assurance client.
24 Q. How much? 24 And we're not allowed to receive referral fees when you
25 A. $36,000. 25 refer assurance clients to alliance firms.
Page 2410 Page 2412 8
1 Q. And again, it was your understanding it was 1 Q. So again, when you say assurance you mean?
2 reduced downward because they were not pleased with the 2 A. Audit.
3 Jack of referrals? 3 Q. One of your audit clients?
4 MR. THOMAS: Objection, Your Honor. 4 A. Yes.
5 Leading. 5 Q. So even though you made a referral, you got
6 THE COURT: Sustained. 6 no fee?
7 BY MS. BITAR: 7 A. Nothing.
8 Q. What was your understanding as to why it was 8 Q. The strategic alliance agreement talks about
9  (inaud.) down so much? 9 methodology fees. Do you have any idea of a methodology
10 A. They weren't receiving any referrals or any 10 fee being received by BDO?
11 _ benefit from it, and they were questioning this whole 11 A. Nothing was received.
12 relationship. And for that reason, Mr. Larson wanted to 12 Q. Mr. Lenner, at the end of the day, how much
13 keep them in the program and reduce the fee so we could 13 money did BDO make on the StrataSys relationship?
14 keep them. 14 A. $36,000.
15 Q. Mr. Lenner, did you have any understanding 15 Q. And how much money did you make?
16 _ at the time that StrataSys was having money troubles? 16 A. $7500.
17 A. No. 17 Q. And when BDO developed this relationship
18 Q. And to the best of your knowledge, did 18 with StrataSys, was it something that was internally
19 anybody at BDO? 19 discussed at the firm?
20 A. Noone. 20 A. Yes.
21 MR. THOMAS: Objection. Speculation. 21 Q. And was it publicized in the newspaper and
22 THE COURT: Overruled. 22 press releases?
23 BYMS.BITAR: 23 A. Yes, there were press releases taken out,

 
  

 

Q. Now, there was a licensing fee. And we now
know that that was approximately $36,000, correct?

 

 
 

  
  
    
  
  
  
   
  
   
   
  
  
   
   
  
 

something in the Miami Herald. There was even a deal
(inaud.) made. We were very optimistic and very proud

 

BLS REO KE RBA eS I Aen ics BER ASR MINES CED SALT ENG SARS PNT CERAM OR | SEINE SLE I SA ER N SE FOTOS, EOE tg RE REM EM LISSA SOW OSE SP RSET LN TIO LE A ERE BS OE
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 28 of 43
17 (Pages 2413 to 2416)

 

 

 

Page 2413 Page 2415
1 of this alliance firm. And we were hoping something 1 Q. Were you on occasion critical of Mr. Rivera?
2 _would develop from this relationship with StrataSys. 2 A. Yes.
3 Unfortunately, nothing developed. 3 Q. Did Mr. Rivera's termination in 2001 have
4 Q. Let's change topics -- once I put on my 4 anything to do with the work he did on Bankest in 1998?
5 microphone. Mr. Lenner, did you know Ramon Rivera? 5 A. None whatsoever.
6 A. Yes. 6 Q. Do you remember Mr. Thomas showed you the
7 Q. Did you hear Mr. Rivera testify in this 7  C-10 work paper?
8 courtroom? 8 A. Yes.
9 A. Yes. 9 Q. Do you have that in front of you, sir?
10 Q. Did you hear what he said? 10 MS. BITAR: Can you get that on the screen,
11 A. Yes. 11 please?
12 Q. Do you remember him working at BDO? 12 (Technician complies.)
13 A. Yes. 13 THE WITNESS: Ms. Bitar, I don't have a copy
14 Q. Was he a competent auditor? 14 _~—sof it.
15 A. Yes. 15 MS. BITAR: May I approach, Judge?
16 Q. He testified he didn't work on the 2000 16 THE COURT: Yes.
17 audit. Do you know why? 17 MS. BITAR: (Complies.)
18 A. Yes. 18 BY MS. BITAR:
19 Q. Why? 19 Q. Mr. Lenner, I'm asking you this question
20 A. At that point in time we needed Ramon for 20 flat out under oath. Did you ever tell Ramon Rivera
21 more complex audit engagements. It was time for Chris 21 ‘that he can accept a BCC check instead of a customer
22 Mohr, who was a senior for a couple of prior years, and 22 check when performing this audit step?
23 he moved up and he filled the shoes of Ramon that year. 23 A. never said that.
24 And Ramon went on to work at some other public companies § 24 Q. Did you ever say it to the auditor who
25 and some other clients. 25 replaced him, Chris Mohr?
Page 2414 Page 2416
1 Q. Was he punished in any way taking him off 1 A. No.
2 the Bankest audit? 2 Q. Did you ever tell the next person down the
3 A. No. 3 line, George Herrera?
4 Q. Was he, in essence, promoted to do more 4 A. No.
5 challenging work? 5 Q. When Mr. Rivera is saying to this jury that
6 A. In fact, to work for public companies -- 6 that's what you told him to do, is he mistaken?
7 those are companies that trade securities on the stock 7 MR. THOMAS: Objection, Your Honor.
8 exchange -- in a public accounting firm, that's a pretty 8 THE COURT: Sustained.
9 high honor. That's prestigious to work on those types 9 BY MS. BITAR:
10 = of clients. And he worked on a couple of those. 10 Q. Did you ever tell him that, sir?
11 Q. Now, was he fired? 11 MR. THOMAS: Objection, Your Honor.
12 A. Yes. 12 THE COURT: Sustained.
13 Q. Why was he fired if he's being given these 13. BY MS. BITAR:
14 responsible roles? 14 Q. Looking at the work paper, we've heard now
15 A. He was fired because he was with us for two, 15 about the initials on the top right corner mean, but let
16 three years, and we reached a conclusion that he wasn't 16 meask you a little bit different question. Who
17 able to advance to the next level, which would have been §17 prepared this work paper?
18 the senior manager, and ultimately, it would have been a § 18 A. Mr. Rivera prepared this work paper.
19 partner. So we told him that it wasn't working out and, 19 Q. And do you see this work paper after the
20 you know, we asked him to seek other employment. 20 fact?
21 Q. Was he upset about that? 21 A. Yes.
22 A. Yes. 22 Q. And the text at the bottom, the three
23 MR. THOMAS: Objection. Speculation. 23 footnotes --
24 THE COURT: Overruled. 24 MS. BITAR: Can we highlight that, please?
25 BY MS. BITAR: 25 (Technician complies.)

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 29 of 43

18 (Pages 2417 to 2420)

 

 

Page 2417 Page 2419
1 BY MS.BITAR: 1 THE COURT: Sustained. ;
2 Q. Who wrote the text? 2 BY MS. BITAR:

3 A. He did. 3 Q. Mr. Lenner, you told Mr. Thomas something
4 Q. Mr. Lenner, assume for purposes of this 4 about how this was an important document and that wasa
5 question only that you did tell him, you could use a BCC 5 less important document. Could you explain that to the i
6 check, what should have been reflected on that work 6 jury, please? :
7 paper? 7 A. Yes. This is an important document because i
8 MR. THOMAS: Objection, Your Honor. 8 it's very key, that it’s very clear what the auditor j
9 THE COURT: Overruled. 9 examined. Whereas, in the internal control ;
10 THE WITNESS: Assuming I told him that, then 10 questionnaire that we were looking at the other day, we F
11 he would set up a fourth column, column D, and that 11 already concluded that the company was high risk and i
12 would say examined -- it would say the same thing as A 12 _ sensitive. And to go back and change it, it had no :
13 _ but except for saying traced to copy of customer check, 13 __ bearing on the audit. So that's why it wasn't that E
14 it would say traced to BCC check. Because the whole 14 important or wasn't relevant then, because we already
15 purpose of these tick marks, to explain the documents 15 deemed the audit to be high risk. This is important. :
16 that you examined and to be clear. 16 Q. Do you remember, Mr. Lenner, Mr. Thomas i
17 BY MS. BITAR: 17 asked you a bunch of times, "So you couldn't rely on ;
18 Q. And is that why you told Mr. Thomas on 18 that? Answer: Yes, in the inherent questionnaire." :
19 Tuesday this was an important work paper? 19 You couldn't rely on the questionnaire. Do ;
20 A. Yes. 20 you remember that? :
21 Q. Is that also because what it does is it 21 A. Yes. fl
22 provides the audit trail so you can recount the steps 22 Q. Mr. Lenner, did you need to rely on the
23 back to see how the test was performed? 23 answer to that question? :
24 MR. THOMAS: Objection. Leading, Your 24 A. No. i
25 Honor. 25 Q. And is that the reason you've just explained
Sy
Page 2418 Page 2420
1 THE COURT: Sustained. 1 to the jury?
2 BY MS. BITAR: 2 A. Yes. ;
3 Q. Why is it important, Mr. Lenner? 3 Q. Because you overroad what the actual
4 A. Because this is an audit trail that 4 questionnaire analysis told you? i
5 indicates the work that was performed at the time in 5 MR. THOMAS: Objection. ‘
6 1999 when this person was examining the checks and the 6 THE COURT: Sustained. d
7 invoices. It says exactly what he did. Instead of 7 BY MS. BITAR:
8 attaching the check, attaching the invoice, attaching 8 Q. Why was it not important, Mr. Lenner? ;
9 the remittance, the auditors put this tick mark and 9 A. Because we already made the decision that
10 explained what he or she examined. That's the purpose 10 the company was high risk and sensitive. There was no H
11s off itt. 11 point in making that change. So we made that
12 Q. Are checks and invoices routinely kept, sir? 12 conclusion -- it was a manual change later on in the F
13 A. No. 13 audit.
14 Q. And why is that? 14 Q. Mr. Lenner, do you remember when Mr. Thomas F
15 A. To doso, it would be voluminous, It's just 15 showed you that document, he asked you if it was your
16 no point in keeping thousands or millions of invoices, 16 understanding that items 10 through 32 were fake? i
17 and for all your clients nationally. That's why you put 17 A. Yes. :
18 tick marks in, to explain what you looked at or 18 Q. And I think you said yes. Do you haye Hl
19 information so there's an audit trail to see the 19 personal knowledge of that?
20 documents that were examined. 20 A. No. [had no personal knowledge at that i
21 Q. Anda document such as this which provides 21 time that they were fake. It's only hearing the E
22 the audit trail evidence, is that why this document is 22 testimony of the people that had presented their :
23 important and the inherent risk questionnaire that we 23 testimony in this case have I learned to hear that these :
24 looked at not important? 24 invoices, you know, were fake.
25 MR. THOMAS: Objection, Your Honor. 25 Q. So even as you sit here today, your answer i

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 30 of 43

19 (Pages 2421 to 2424)

 

Page 2421

Page 24235

  
  
  
    
  
   
   
   
  
   
  
   
  
    
   
   
   
 

 

   

 

 

 

    

1 is based on what you heard other people tell you; is 1 MR. THOMAS: Objection. Leading, Your
2 that correct? 2 Honor.
3 A. That's correct. 3 THE COURT: Overruled.
4 Q. You talked about this work stoppage, and you 4 THE WITNESS: Yes
5 said you had a vague or fleeting -- I don't remember the 5 BY MS. BITAR:
6 words you used -- recollection of it. Do you remember 6 Q. And during that period of time, did you
7 ~~ that testimony? 7 corroborate with the United States Attorney's office and
8 A. Yes. 8 answer their questions?
9 Q. And do you remember you told the jury that 9 A. Yes, I did.
10 at your deposition you didn't remember this happening at § 10 Q. Did Mr. Freeman ever pick up a phone and ask
11 ail? 11 you questions about this case -- I'm sorry -- about the
12 A. Yes. 12 audits?
13 Q. Do you remember -- withdrawn. 13 A. He never called me.
14 And that your memory is refreshed after 14 Q. Now, getting back to your deposition, what
15 hearing Mr. Ellenburg and Mr. Rivera talk about what 15 did -- do you remember what Mr. Thomas asked you about
16 happened? 16 the work stoppage?
17 A. Yes. 17 A. I think he asked me if there was -- if there
18 Q. And as you sit there and you listen and you 18 ever work was a work stoppage on this audit. And that
19 try to put the pieces and have them try to make sense to 19 ~~ was it.
20 you? 20 Q. And what did you say?
21 A. Yes. 21 A. I said I don't recall any.
22 Q. Do you remember when your deposition was? 22 Q. Well, let me ask you a question. Do you
23 A. It was in I think May or June of 2004. 23 remember if he asked you about this audit or any audit?
24 Q. And Mr. Lenner, was the deposition in 24 MR. THOMAS: Objection, Your Honor.
25 connection with this case? 25 BY MS. BITAR:
Page 2422 Page 2424>
1 A. No, it was not. 1 Q. Do you remember?
2 Q. It was in connection with the receiver's 2 THE COURT: Sustained.
3 action, correct? 3 MR. THOMAS: Objection, Your Honor.
4 A. Yes. 4 THE COURT: Sustained. Rephrase your
5 Q. And you were not a defendant in that case, 5 question.
6 correct? 6 BYMS. BITAR:
7 A. That's correct. 7 Q. Were you asked about a work stoppage on this
8 Q. BDO wasn't either? 8 audit or any other audits? Do you remember?
9 A. That's correct. 9 MR. THOMAS: Objection, Your Honor.
10 Q. And Mr. Thomas was there asking you 10 THE COURT: What's the legal basis?
11 questions as special counsel to the receiver and on 11 MR. THOMAS: Hearsay.
12 _ behalf of the bank, correct? 12 THE COURT: Sustained. There's more
13 A. Yes. 13 objections but this is fine.
14 Q. Anda subpoena was served on you and you §14 BY MS. BITAR:
15 gave testimony in that action, correct? 15 Q. Were you asked any questions about Ramon
16 A. Yes, I did. 16 ~~ Rivera?
17 Q. By the way, when did you first learn about 17 MR. THOMAS: Objection, Your Honor.
18 the fraud? 18 THE COURT: Same -- what's your objection?
19 A. When it was in the paper, which I think was 419 MR. THOMAS: My objection is, one, hearsay :
20 in August of 2003. 20 because the hearsay is in the question. Two, violates :
21 Q. And do you recall that within a week 21 _ the rules on depositions. I'll stop there. :
22 Mr. Freeman had subpoenaed BDO's work papers? | 22 THE COURT: Sustained. :
23 A. Yes. 23. BY MS. BITAR: i
24 Q. And then about ten months later he 24 Q. Were you shown an affidavit by Ramon Rivera?
25 subpoenaed you for a deposition? 25 MR. THOMAS: Objection, Your Honor.

 

    
    
  
  
  
  
  
  
  
  
  
  
  
  
   
   
     

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 31 of 43

20 (Pages 2425 to 2428)

 

   
     
  
  
  
  
   
 
  
   
  
  
  
  

 

 

 

 

   
   
   
  
  
  
  
  
  
   
   
  
 
   

Page 2425 Page 2427 &
1 THE COURT: It's overruled. It's a yes or 1 MR. THOMAS: Objection, Your Honor.
2 no. 2 MS. BITAR: At this time, I have no further
3 MS. BITAR: Okay. 3 questions.
4 THE WITNESS: No. The question was just 4 THE COURT: Mr. Thomas, do you have any
5 asked -- 5 redirect?
6 MR. THOMAS: Objection, Your Honor. 6 MS. BITAR: Thank you, sir.
7 THE COURT: Sustained. 7 MR. THOMAS: I'm going to say yes.
8 BY MS. BITAR: 8 THE COURT: Okay. Just asking.
9 Q. Did learning it was Mr. Rivera in 1998 when 9 MR. THOMAS: I was thinking about it myself.
10 he came and testified refresh your recollection about 10 REDIRECT EXAMINATION
11 this matter? 11 BY MR. THOMAS:
12 A. Yes. 12 Q. Hello again, Mr. Lenner.
13 Q. And that's something you didn't know at your 13 A. Hello, Mr. Thomas.
14 deposition, sir? 14 Q. Mr. Lenner, I think you established with
15 A. Thad no recollection of it. Even now after 15 your counsel that you weren't very familiar with all the
16 hearing the testimony, I just have a very vague 16 technology that they were using at StrataSys. Do you
17 _ recollection that the work stopped and then it resumed a § 17 remember that?
18 couple days later. 18 A. Yes.
19 Q. Mr. Lenner, let me ask you this. You gave 19 Q. You didn't really understand the details of
20 some testimony to Mr. Thomas about a meeting with 20 their business because you're not a computer guy?
21 Dominick Parlapiano when this issue was apparently 21 A. Yes.
22 resolved. Do you remember that testimony? 22 Q. And, in fact, she put up the memo --
23 A. Yes. 23 MR. THOMAS: Can we put that one up that has
24 Q. I want to be clear. Do you actually 24 all the stuff that StrataSys does?
25 remember this meeting or are you assuming it happened §25 (Technician complies.)
Page 2426 Page 2428
1 based on what you heard everyone else tell you happened? 1 BY MR. THOMAS:
2 MR. THOMAS: Objection. Leading, Your 2 Q. Exhibit 439. Do you remember that? And
3 Honor. 3. your counsel blew up that middle part where the bullet
4 THE COURT: Overruled. 4 points are. They talked about they have this whole
5 THE WITNESS: I don't recall that meeting at 5S infrastructure and network system, consulting, and
6 all. Just putting together the snippets of information 6 implementation. And I believe you testified -- I mean,
7 ~~ that I've been hearing. 7 you really didn't even know what that stuff was hardly,
8 BY MS. BITAR: 8 right?
9 Q. So Mr. Lenner, is it fair to say that other 9 A. I said I had a general understanding. I
10 ‘than your recollection there was some several-day glitch 10 don't know how to implement that type of service.
11 with respect to receiving documents, you have no other 11 = That's what I said.
12 _ specific recollection of this incident? 12 Q. Right. And if you look down there below
13 A. That's correct. 13 where it talks about the financing manufacturing, see
14 Q. And why is that, sir? 14 ‘that right down there? And it talks about the MAS 200
15 A. Because it happened -- because if it 15 and MAS 90 software. You really don't know what any of ;
16 happened, it happened eight years ago. And it's not 16 that stuff is either, right? i
17 uncommon for audits to stop because there's 17 A. As it says here, it's like a general ledger :
18  misunderstandings on why we need certain evidence to 18 or financing accounting package. :
19 complete our audits. And phone calls are made and it 19 Q. But you just know that from reading that P
20 resumes. 20 there, right? ;
31 Q. So Mr. Lenner, was this incident significant 21 A. Iknow that in gencral. ;
22  toyou? 22 Q. Ingeneral. But you don't really know the :
23 A. No. 23 computer stuff at StrataSys, right? Isn't that what you :
24 Q. Mr. Lenner, we will be discussing the audit 24 just told your counsel?
work you performed when I call you on our case -- 25 A. Yes. ;
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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 32 of 43

21 (Pages 2429 to 2432)

 

    
   
 
 
 
 
 
 
 
 
 
 
  

Page 2429

Page 2431

 

    
  
   
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  

Q. Mr. Lenner, I've showed you this before.

 

 

 

 

1 , Q. You didn't know that stuff, right? 1 But just so you can find a copy, it's Plaintiffs’

2 MS. BITAR: Objection, Your Honor. 2 Exhibit Number 440. Here you go.

3. BY MR. THOMAS: 3 MR. THOMAS: You all have a copy?

4 Q. That's what you just told her, right? 4 MS. BITAR: (Nodding.)

5 THE COURT: Overruled. 5 BY MR. THOMAS:

6 THE WITNESS: Yes. 6 Q. And if you look down there at the bottom,

7 BY MR. THOMAS: 7 ~~ after we see the first sentence because --

8 Q. So you weren't named the alliance firm 8 MR. THOMAS: Can we blow up that paragraph?

9 liaison because you had some expertise in StrataSys' 9 (Technician complies.)
10 business, right? 10 BY MR. THOMAS:
11 A. Repeat the question, please. 11 Q. That second sentence says, "Sandy has
12 Q. You were not named the alliance firm liaison 12 developed many relationships at StrataSys over the eight
13 because you had some expertise in StrataSys' business, 13 months we worked on bringing StrataSys into the alliance
14 right? 14 program."
15 A. Yes. 15 Now, that sentence is true, right?
16 Q. You were named the alliance firm liaison 16 A. Yes.
17 because of your relationships with the people at 17 Q. And you see that sentence above that? You
18 StrataSys, right? 18 see where it says, "Because Sandy Lenner identified,
19 A. Yes. 19 championed, and helped negotiate the alliance agreement
20 Q. And those relationships included Dominick 20 with StrataSys, Sandy is the logical choice and will be
21‘ Parlapiano, right? 21 _ the alliance firm liaison."
22 A. It was after Dominick -- after 22 You see that one?
23 Mr. Parlapiano introduced me to the people at StrataSys, [23 A. Yes.
24 the relationship progressed to Mr. Girnun. That was my 24 Q. Now, you told your lawyer that the gentleman
25 contact person. 25 who wrote this was playing up your importance. Do you

Page 2430 Page 2432

1 Q. Soit wasn't just your relationship with 1 remember that testimony?

2 Dominick Parlapiano? I mean, that's how you got the 2 A. Yes.

3 business, right? 3 Q. He's another BDO employee, right?

4 A. That was the introduction, correct. 4 A. Yes.

5 Q. Yow also had relationships with other people 5 Q. You don't think he was lying, do you?

6 at StrataSys including Arnie Girnun, right? 6 MS. BITAR: Objection, Your Honor.

7 A. Just professional relationships. That was 7 THE COURT: Sustained.

8 it. 8 BY MR. THOMAS:

9 Q. Well, professional relationships enough that 9 Q. Mr. Lenner, do you think he was telling the
10 even though you didn't even understand their business, 10 truth when he wrote this sentence or you think he was
11 you were named the alliance firm liaison, right? 11 playing it up?
12 A. While I was named the alliance firm liaison, 12 MS. BITAR: (Standing up.) e
13 Thad a general understanding of the business. I could 13 THE COURT: Sustained. Rephrase your i
14 not work for them because I don't know what they sell or §14 question.
15 how to sell it or how to implement it. So [had a 15 BY MR. THOMAS: i
16 general understanding. 16 Q. Mr. Lenner, do you think he was telling the :
17 Q. What you had was relationships and that's 17 truth when he wrote this sentence? H
18 why you were named the alliance firm liaison, right? 18 MS. BITAR: Objection, Your Honor.
19 MS. BITAR: Objection. Asked and answered. 19 THE COURT: Sustained. i
20 THE COURT: Sustained. 20 BY MR. THOMAS:
21 MR. THOMAS: Well, can we go to the memo 21 Q. Mr. Lenner, is this sentence true? f
22 _ that talks about it? 22 MS. BITAR: Objection, Your Honor. i
23 (Technician complies.) 23 THE COURT: Overruled. :
24  BY.MR. THOMAS: 24 THE WITNESS: Yes. It's for the most part i

  

accurate. I was involved in the process and I helped

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 33 of 43

22 (Pages 2433 to 2436)

 

Page 2433

      
     
  
  
   
 
  
  
   
   
  

Page 243568

 

1 negotiate one or two times, as I gave testimony before. 1 THE COURT: Overnuled.
2 But the day-to-day negotiations were handled by 2 THE WITNESS: Yes. Although we were making
3. Mr. Larson, not me. 3 millions of dollars a year, it wasn't -- it was a -- not
4 BY MR. THOMAS: 4 inthe Miami office. It was nationally the firm was
5 Q. Do you remember when I was asking you 5 making millions of dollars.
6 questions the first time, it was just a couple of days 6 BY MR. THOMAS:
7 ago? 7 Q. So at the time that you were championing
8 A. Maybe some of the questions, sure. 8 StrataSys, at the time that you got StrataSys signed up,
9 Q. And J asked you then whether this sentence 9 _ the firm was making millions and millions of dollars
10 was true and you just said yes. Do you remember that? 10 from such alliances and you were hopeful that you would
11 A. Repeat the question. 11. make a bunch of money too, right?
12 Q. When we were here on Tuesday, a couple of 12 MS. BITAR: Objection, Your Honor.
13 days ago, I asked you the same question about whether 13 THE COURT: Overruled.
14 this sentence was true or not and you just said yes. Do 14 THE WIINESS: Yes.
15 you remember that? 15 MR. THOMAS: With His Honor's permission,
16 A. Yes. 16 {approach you with Plaintiffs’ Exhibit 415-B.
17 Q. And it's the same answer or now is it just 17 THE COURT: You may.
18 mostly correct? 18 BY MR. THOMAS:
19 MS. BITAR: Objection, Your Honor. 19 Q. You've seen this before. This is your
20 THE COURT: Sustained. 20 good-guy memo, right?
21 BY MR. THOMAS: 21 A. Yes.
22 Q. I just want to know, Mr. Lenner, is your 22 Q. And this was the memo you were writing to
23 answer the same today? 23 the CEO to try to get a bigger bonus, right?
24 MS. BITAR: Objection, Your Honor. 24 A. To get a bonus.
25 THE COURT: Sustained. 25 Q. To get a bonus. Some sort of money?
Page 2434 Page 2436
1 BY MR. THOMAS: 1 A. Yes.
2 Q. Today is it mostly correct? 2 Q. And in here you said that you have very high
3 MS. BITAR: Objection, Your Honor. 3 expectations for StrataSys, right?
4 THE COURT: Sustained. Go on to another 4 A. Yes.
5 question. 5 Q. And those high expectations included that it
6 MR. THOMAS: A different way? Okay. 6 would be very profitable? You'd make money from it,
7 BY MR. THOMAS: 7 right?
8 Q. Mr. Lenner, you championed the StrataSys 8 A. Yes.
9 alliance? 9 Q. And do you remember talking to your counsel
10 A. Yes. 10 about how that was okay?
11 Q. And at the time you championed the StrataSys § 11 MS. BITAR: Objection, Your Honor. Talking
12 alliance, you thought it was going to be very 12 to your counsel.
13 profitable, right? 13 THE COURT: Sustained.
14 A. I was hoping it would be profitable. 14 BY MR. THOMAS:
15 Q. Well, you didn't champion it because you 15 Q. Well, do you remember testifying to the jury
| 16 thought it wouldn't be profitable, right? 16 that that was okay to try to make money?
17 A. That's correct. 17 A. Yes.
18 Q. In fact, you were very excited about it 18 Q. And if we look at the back of this thing, we
192 because you thought it was going to be profitable, 19 see on page 3 your whole discussion about smelling the
20 right? 20 cheese. You see that?
21 A. Yes. 21 A. Yes.
22 Q. And at this time, BDO was making millions 22 Q. And do you remember testifying to the jury
23 and millions of dollars a year from just these kind of 23 that smell the cheese meant grow the business and make
24 alliances, right? 24 ‘it -- meant making more money, right?
25 25 A. Yes.

 

 
 

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MS. BITAR: Objection, Your Honor.

 

 

    

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 34 of 43

23 (Pages 2437 to 2440)

 

Page 2437

   
      
  
  
  
   
   
   
  
  
  
  
 

Page 2439 :

 

1 . Q. And I think you even told the jury today 1 A. It is reviewing the work paper, Mr. Rivera
2 __ that smelling the cheese was good, right? 2 performing the task as indicated by steps A, B, and C.
3 A. Yes. 3 That's the personal knowledge I have.
4 Q. Greed it good, right? 4 Q. So you don't have personal knowledge of
5 MS. BITAR: Objection, Your Honor. 5 actually being there and seeing the checks and
6 THE COURT: Sustained. 6 _ performing the tests, right?
7 BY MR. THOMAS: 7 A. You're asking me if I did that step?
8 Q. Well, Mr. Lenner, when you were trying to 8 Q. I'masking you if you were even there when
9 grow the business and you wanted to smell the cheese, 9 hedid the step? You weren't at Bankest, were you?
10 that meant that you were going to use these alternative 10 A. Ido visit my clients, Mr. Thomas. I don't
11 distribution channels to grow that business, right? 11 go there as much as Mr. Rivera would be there. I do --
12 A. Yes. 12 I don't know if I was there that day when he was doing
13 Q. And one of those alternative distribution 13 that test. But there are times that I'm in the field.
14 channels was StrataSys, right? 14 Q. You remember when I was asking you questions
15 A. It was one of many. 15 on Tuesday, right?
16 Q. So it was one of them? 16 A. Yes.
17 A. That's what I just said, yes. 17 Q. And when I asked you questions on Tuesday
18 Q. So when you were giving your loud wolf howl, 18 and I asked you if you saw the checks and you were
19 wake-up call to the pack, the firm, that's what you were 19 there, you said you weren't. Do you remember that?
20 trying to communicate, that you were going to grow your § 20 A. Yes.
21 business through these alternative distribution 21 Q. So you weren't there when this test was
22 channels? 22 performed, just like you said on Tuesday?
23 MS. BITAR: Objection, Your Honor. I think 23 A. Your question was, did I perform the test?
24 this is outside the scope. 24 And Isaid no. I don't think you asked me the question
25 THE COURT: Overruled. 25 was I there when the test was being done.
Page 2438 Page 2440
1 THE WITNESS: Yes. 1 Q. Are you testifying to the jury that you were
2 BY MR. THOMAS: 2 there and you remember doing the test and seeing the
3 Q. And one of those that you had high 3 checks?
4 expectations of when you wrote this memo was StrataSys, 4 A. No.I--
5 right? 5 Q. Right. And the one that did do it was
6 A. Yes. 6 Mr. Rivera, right?
7 Q. Mr. Lenner, when you were talking about 7 A. Yes, sir.
8  (C-10 -- this is Plaintiffs' Exhibit Number 376. Do you 8 Q. And the way that you think, as you sit here
9 remember this, right? 9 and you're testifying to the jury now, is that you're
10 A. Yes. 10 reading this work paper where it describes here and
11 Q. And I believe you previously testified to 11 looking at the check mark and saying that's what was
12 the jury that you had no personal knowledge whether 12 done, right?
13 __ these steps were done or not, right? 13 A. Yes. That's the whole purpose of this work
14 A. No, I didn't think I said that. 14 paper is to evidence the work that was performed at the
15 Q. Well, you didn't do any of them, right? 15 time eight years ago.
16 A. Mr. Rivera performed the steps. 16 Q. So you're relying on what's said on the work
17 Q. That's right. Mr. Rivera. He's the one 17 paper to figure out what was done?
18 that has personal knowledge, right? 18 A. Yes.
19 A. Yes. 19 MR. THOMAS: With His Honor's permission, I
20 Q. And you don't have personal knowledge, 20 will approach the witness with Exhibit 3005, pages 322 ;
21 ~— right? 21 through 324. ;
22 A. Well, when I read the tick mark, I have 22 THE COURT: You may. i
23 personal knowledge that's what he did. 23 MR. THOMAS: Thank you. id
24 Q. So your personal knowledge is just based on 24 BY MR. THOMAS: ‘
25 looking at the work paper? 25 Q. And Mr. Lenner, if you'd look at the last R

 

 

  

 
   
     
  
  
   
  
  
   
  
   
  
  
 
 

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 35 of 43

24 (Pages 2441 to 2444)

 

 

Page 2441 Page 2443
1 page, please. 1 onto the next witness. Ladies and gentlemen, do not .
2 MR. THOMAS: And could we do the highlight, 2 discuss the case amongst yourselves. Go to the
.3 please? Thank you. 3 bathroom. You may not have another break after this.
4 (Technician complies.) 4 THE COURT: All right. Take 15 minutes.
5 BY MR. THOMAS: 5 (Thereupon, a brief recess was taken.)
6 Q. Now, Mr. Lenner, when we read this work 6 THE COURT: All right. You all ready to go?
7 paper and we rely upon it to find out what BDO did for 7 MS. SIMON: Yes.
8 notification customers -- 8 THE COURT: All right. You all ready to go?
9 MR. THOMAS: Can we see that last one? It's 9 Bring them in.
10 a little hard to read. 10 THE BAILIFF: (Complies.) All rise for the
11 (Technician complies.) 11 jury.
12 BY MR. THOMAS: 12 (Thereupon, the jury was brought into the
13 Q. For notification customers, BDO traced 13 courtroom.)
14 payment from customer directly to E.S. Bankest. Anddo $14 THE COURT: All right. Have a seat. Well,
15 you remember agreeing with me that this doesn't mention [15 we're going home. So you're going to have a long
16 Capital at all? 16 weekend. Is that okay with you, Mr. Cooper?
17 MS. BIFAR: Your Honor, I'm going to object. 17 JUROR: Absolutely.
18 This is outside the scope. I did not show him any work 18 (Laughter.)
19 papers. 19 THE COURT: All right. Do not discuss the
20 THE COURT: Outside the scope. 20 case amongst yourselves or anyone else and do not allow
21 MR. THOMAS: I have a response if you need 21 anybody to discuss the case with you. Do not form a
22 one. 22 opinion or a fixed opinion about the merits of the case
23 THE COURT: Hold on. Overruled. 23 until you've had heard all the evidence, the argument by
24 BY MR. THOMAS: 24 the lawyers, and the instructions on the law by me. And
25 Q. And you remember agreeing with me on 25 you're not to read, hear, or see any accounts of this
Page 2442 Page 2444
1 Tuesday, Mr. Lenner, that the notification customers 1 case in the media. Still been a long week.
2 like Joy, where all the money went through Capital, that 2 And you're to ignore the presence of the
3 this work paper didn't mention Capital at all? Remember 3 lawyers outside this courtroom and they're to ignore
4 that? 4 yours. So have a wonderful weekend. Stay out of
5 A. Yes. 5 trouble.
6 Q. And if we just relied upon this work paper, 6 Mr. Cooper, the way you dress you need to
7 then it wouldn't even tell us that BDO looked at 7 stay out of trouble. Okay? I got to get some pants.
8 Capital, right? You remember agreeing with me to that, 8 JUROR: It's cool.
9 don't you? 9 THE COURT: [love it. Ilove it. Havea
10 A. Yeah. Because we tested the internal 10 good weekend.
11 control system this year where we went through Capital's [11 THE BAILIFF: All rise for the jury.
12 books and records, and for that reason this is a 12 (Thereupon, the jury was escorted out of the
13 substantive test. We did not have to do it here. 13 courtroom.)
14 That's what it says. 14 THE COURT: Anything else we need to address
15 Q. Well, actually, what you said, Mr. Lenner -- 15 before we go?
16 but I don't want to argue -- is that you were describing 16 MR. THOMAS: No, Judge.
17 the test there and the money had to have gone through 17 THE COURT: Have a nice weekend with your
18 Capital for Joy. And Capital wasn't listed in the work 18 families.
19 paper, right? 19 MR. THOMAS: Thanks, Judge.
20 A. Yes. 20
21 MS. BITAR: Objection, Your Honor. 21 (Thereupon, at approximately 3:50 p.m., the
22 MR. THOMAS: No further questions. 22 above portion of the trial was concluded.)
23 THE COURT: Mr. Lenner, you may step down. 23
24 THE WITNESS: (Complies.) 24 * * *
25 25

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THE COURT: Let's take a break before we go

 

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 36 of 43
25 (Page 2445)

 

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Page 2445
CERTIFICATE OF COURT REPORTER

I, GIZELLA BAAN, court reporter, before whom
the foregoing statement was taken, do hereby certify
that the statement made was taken by me stenographically
at the time and place mentioned in the caption hereof
and thereafter transcribed by me to the best of my
ability; that said transcript is a true record of the
statement given; that I am neither counsel or, related
to, nor employed by any of the parties to the action in
which these proceedings were taken; and further, that I
am not a relative or employee of any party hereto, nor
financially or otherwise interested in the outcome of
this action.

 

GIZELLA BAAN
Court Reporter and Notary Public
in and for the State of Florida

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 37 of 43

 

   
  
  
    
   
 
   
    
   
  
  
  
  
  
  
 
 

Page 2446

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

PAGES 2446 - 2641

Volume 21

Miami, Florida
Monday, April 30, 2007
9:50 a.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

   

 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 38 of 43

2 (Pages 2447 to 2450)

 

   
   
  
   
    

 

 

 

Page 2447 Page 2449
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2 Bernard Mollet, and Joaquin Garnecho
3 Onbehalf of the Plaintiffs BANCO ESPIRITO SANTO 3
4 INTERNATIONAL, LTD., ET AL.: 4 RICHMAN, GREER, WEIL, BRUMBAUGH,
5 5 MIRABITO & CHRISTENSEN, P.A.
6 SULLIVAN & CROMWELL, LLP 6 Miami Center, Suite: 1000
7 1888 Century Park East 7 201 S. Biscayne Boulevard
8 Los Angeles, Califomia 90067 8 Miami, Florida 33131
9 (310) 712-6627 9 (305) 373-4000
10 BY: Steven W. Thomas, Esquire 10 BY: Manuel Garcia Linares, Esquire
11 Emily S. Alexander, Esquire 11
12 12
13. GONZALO R. DORTA, P.A. 13 On behalf of Third-Party Defendant Bernard Mollet
gid 334 Minorca Avenue 14
15 Coral Gables, Florida 33134 15 GAMBA & LOMBANA, P.A.
16 (305) 441-2299 16 2701 Ponce de Leon Boulevard, Mezzanine
17 +BY: Gonzalo R. Dorta, Esquire 17 Coral Gables, Florida 33134
18 18 (305) 448-4010
19 BERGER SINGERMAN 19 BY: Hector J. Lombana, Esquire
20 350 East Las Olas Boulevard, Suite 20 Geoffrey Marks, Esquire
21 Fort Lauderdale, Florida 33301 21
22 (954) 525-9900 22
23 BY: Mitchell W. Berger, Esquire 23
24 24
25 25
Page 2448 Page 2450
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2
3 ALVAREZ, ARMAS & BORRON 3. EXAMINATION OF GEORGE HERRERA BY: PAGE: i
4 901 Ponce de Leon Boulevard, Suite 304 4 MR. THOMAS: (Direct) 2453
5 Coral Gables, Florida 33134 5 MR. COLE: (Cross) 2456
6 (305) 461-5100 6
7 BY: Arturo Alvarez, Esquire 7 EXAMINATION OF DAN GUY BY: PAGE:
8 8 MR. THOMAS: (Direct) 2457
9 GREENBERG TRAURIG, LLP 9 MR. COLE: (Cross) 2574
10 MetLife Building 10
11 200 Park Avenue, 15th Floor 11
12 New York, New York 10166 12
13. BY: Adam D. Cole, Esquire 13
14 Karen Y. Bitar, Esquire 14
15 15
16 GREENBERG TRAURIG, LLP 16
17 1221 Brickell Avenue 17
18 Miami, Florida 33131 18
19 BY: Mark Schnapp, Esquire 19
20 Nikki Simon, Esquire 20
21 21
22 22
23 23
24 24
25 25

   
  
  
 
 
 
 
 
 
 
 
 
 
 
 
   
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 39 of 43

3 (Pages 2451 to 2454)

 

Page 2451 Page 2453
1 PROCEEDINGS 1 ask you anything to allude to that. Okay?
2 THE COURT: Who is the next witness? 2 THE WITNESS: Understood.
3 MR. THOMAS: Mr. Herrera. 3 (Thereupon, the side-bar conference was
4 THE COURT: Any objections about quitting by 4 concluded.)
5 4:30 tonight? She needs to get her car. 5 DIRECT EXAMINATION
6 MR. COLE: No objection. 6 BY MR. THOMAS:
7 MR. THOMAS: No objection, Judge. 7 Q. Good morning, Mr. Herrera.
8 THE COURT: Ready? Bring them in. 8 A. Good morning.
9 THE BAILIFF: All rise for the jury. 9 Q. Mr. Herrera, you had your deposition taken
10 (Thereupon, the jury was brought into the 10 in this action, remember that?
11 courtroom.) 11 A. That's correct.
12 THE COURT: You may be seated. 12 Q. And when you had your deposition taken, you
13 Good morning, ladies and gentlemen. How are 13 gave an oath to tell the truth?
14 you today? 14 A. That's correct.
15 JUROR: Fine. 15 Q. And that was the same oath that you just
16 THE COURT: Everybody good? You sure? Had 16 gave here this morning, to tell the truth to this jury;
17 agood weekend? 17 _ is that right?
18 JUROR: Rough. 18 A. That's correct.
19 THE COURT: Well, you're young. Me and 19 Q. Now, you worked at BDO?
20 Mr. Cooper can't have those weekends anymore except when 20 A. Yes, I did.
21 he goes to Vegas, of course. 21 Q. And you worked at BDO from December 2000 to
22 So are you ready to go? Did you get your 22 February of 2001?
23 coffee? No? Yes? Maybe? I couldn't see any cups in 23 A. That's correct.
24 your hands. Anything else you need there now? 24 Q. So you were only at BDO for about
25 JUROR: We're good now. We're ready to go. 25 two-and-a-half months?
Page 2452 Page 2454
1 THE COURT: Okay. You're quiet today. I 1 A. Yes, sir.
2 don't know if that's good. 2 Q. Now, you left BDO, right?
3 JUROR: It's Monday. Mr. Cooper brought his 3 A. Yes, sir.
4 gumbo. 4 Q. And you left BDO because you were concerned
5 THE COURT: He did? Today? 5 that the Miami office was having financial trouble,
6 JUROR: You want to join us? 6 right?
7 THE COURT: I'll think about it. That's 7 MR. COLE: Objection. Leading.
8 good. Allright. Well, let's see if we can get this 8 THE COURT: Sustained.
9 moving along. 9 Ask another question.
10 Mr. Thomas, you may call your next witness. 10 BY MR. THOMAS:
11 MR. THOMAS: Good morning. 11 Q. Why did you leave?
12 Your Honor, Espirito Santo calls Jorge 12 A. Tleft because I felt that the office wasn't
13 Herrera. 13 doing well in terms of financially, and my prospects of
14 THE CLERK: Raise your right hand. 14 becoming partner in that firm -- that office, excuse me,
15 Thereupon, 15 may be limited.
16 Jorge Herrera, 16 Q. And when you had concerns that the office
17 having been duly sworn by the clerk of the Court, 17 was having trouble financially, had you seen the
18 _ testified as follows: 18 financial statements for the prior year?
19 (Thereupon, there was a side-bar conference 19 A. Yes, I did.
20 outside the presence and hearing of the jury.) 20 Q. And did those financial statements show that
21 THE COURT: Mr. Herrera, I don't want youin §21 the Miami BDO office was losing money?
22 any of your answers to allude to the fact that you've 22 MR. COLE: Objection. Relevance.
23 _ testified in this trial previously. 23 THE COURT: Overruled.
24 THE WITNESS: Okay. 24 THE WITNESS: Yes.
25 THE COURT: And the lawyers aren't goingto §~25 BY MR.THOMAS:

 

 

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 40 of 43

4 (Pages 2455 to 2458)

 

 

Page 2455

   
 
    
    
    
   
    
   
    
   
  
   
    
   
  
   
    
     

Page 2457

 

1 -Q. And you saw the projections for the current 1 THE CLERK: Raise your right hand.

2 year 2000, right? 2 Thereupon,
3 A. Yes, sir. 3 DAN GUY,

4 Q. And they showed that -- well, did they show 4 having been duly sworn by the clerk of the Court,

5 that for 2000 that they were projected to lose money? 5 _ testified as follows:

6 A. Yes, sir. 6 (Thereupon, there was a side-bar conference

7 Q. And so for -- I'm sorry, what was the date 7 — outside the presence and hearing of the jury.)

8 that you started? 8 THE COURT: I don't want you to allude in

9 A. December of 2000. 9 any of your answers to the fact that we've been in this
10 Q. And so I may have misstated that last 10 trial before and that you've testified. The lawyers
11 question. 11 aren't going to ask you.
12 So for December 2000 you saw the financial 12 THE WITNESS: Sure.
13 statements for 2000 for the past year? 13 (Thereupon, the side-bar conference was
14 A. That's correct. 14 ~~ concluded.)
15 Q.. And for December 2000 BDO lost money for the 15 THE COURT: You may proceed, Mr. Thomas.
16 year 2000? 16 DIRECT EXAMINATION
17 A. For that office, yes. 17 BY MR. THOMAS:
18 Q. And for the projections were actually for 18 Q. Good morning, Doctor.
19 2001, and that showed that they were going to lose 19 A. Good morning.
20 money? 20 Q. Would you please introduce yourself to the
21 A. That's correct. 21 = jury.
22 Q. I'msorry, Ms. Alexander is trying to remind 22 A. Good morning. My name is Dan Guy.
23 me of the other question I was going to ask you. 23 Q. And Dr. Guy, are you here to testify as an
24 And during the time that you were there that 24 expert for Espirito Santo?
25 two-and-a-half months, BDO's Miami office, they couldn't 925 A. Yes, lam.

Page 2456 Page 2458

1 keep the whole staff busy, right? 1 Q. Where were you born?

2 A. At that time that I was there, they could. 2 A. North Carolina.

3 The schedule showed that possibly they may not. 3 Q. And did you go to college?

4 Q. Or possibly they wouldn't going forward for 4 A. Yes, I did.

5 2001? 5 Q. Where did you go to college?

6 A. Right. 6 A. I went to undergraduate school at East

7 Q. Thanks. I have nothing further. 7 Carolina University in Greenville, North Carolina, and I

8 MR. THOMAS: Thank you, Your Honor. 8 received an undergraduate degree in accounting.

9 THE COURT: Mr. Cole? 9 Q. You received an undergraduate degree. Did
10 CROSS-EXAMINATION 10 you go on and get a masters degree?
11 BY MR.COLE: 11 A. Idid. Also at East Carolina University I
12 Q. Mr. Herrera, during the time period you were 12 received an MBA degree, which is a masters degree in
13 at BDO, did you work on the E.S. Bankest audit? 13 business administration.
14 A. Yes, I did. 14 Q. After you got your undergraduate degree and
15 Q. What was your role in the Bankest audit? 15 then you got a masters degree, did you go on to get a
16 MR. THOMAS: Objection, Your Honor. Scope. 16 doctorate degree?
17 THE COURT: Hold on for a second. 17 A. Yes, I did. I went to the University of
18 What was your objection, Mr. Thomas? 18 Alabama at Tuscaloosa and received a Ph.D. degree in
19 MR. THOMAS: Scope, Your Honor. 19 accountancy.
20 THE COURT: Sustained. 20 Q. So you received a doctorate in accounting?
21 MR. COLE: Your Honor, no other questions. 21 A. Yes, I did.
22 THE COURT: You may step down. 22 Q. Now, after you received that undergraduate
23 You may call your next witness, Mr. Thomas. 23 degree, did you work as an accountant?

MR. THOMAS: Your Honor, Espirito Santo 24 A. Idid. I worked as an accountant.
25

 

calls Dr. Dan Guy.

 

 

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Q. And where did you work?

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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 41 of 43

5 (Pages 2459 to 2462)

 

Page 2459

 
  
  
  
  
  
  
  
  
  
  
   
  
  
  

Page 2461 8

 

1 A. I worked for a firm called Peat Marwick 1 I taught.
2 Mitchell, which today is KPMG, one of the large 2 Q. Did you teach courses in auditing?
3 accounting firms. 3 A. I did. I did teach auditing courses, That
4 Q. And did you work for Peat Marwick in between 4 was my forte, my expertise, yes.
5 getting your graduate degree and your masters degree? 5 Q. And did you teach ethics?
6 A. Yes, I did. 6 A. Yes, I did.
7 Q. And did you do auditing work while you were 7 Q. And how long did you teach at Texas Tech
8 there? 8 teaching auditing and ethics?
9 A. Yes, I did. 9 A. For about seven years.
10 Q. And were you sort of the guy on the ground 10 Q. Now, during the time that you were at Texas
11 out doing the audits? 11 Tech, those seven years, did you also work for
12 A. Basic staff, a staff accountant, yes. 12 accounting firms?
13 Q. And in between getting your undergraduate 13 A. Yes, I did. I had an academic contract for
14 degree and getting your masters degree where you worked §/14 nine months for the academic years and I never taught
15 at Peat Marwick, was that about a year? 15 summer school. So I worked in the summers doing various
16 A. Under a year, yes. 16 consulting projects and working with various CPA firms,
17 Q. And so you left Peat Marwick to go back to 17 yes.
18 school? 18 Q. And what CPA firms did you work with?
19 A. That's correct. / 19 A. I worked, for example, with Arthur Andersen,
20 Q. And after you got your masters degree before 20 and I worked with Ernst & Young, and I worked with a
21 you got your doctorate, did you go back and work as an 21 firm calied Fox & Coe Partnership, (ph.) and I worked
22 accountant some more? 22 with a host of others.
23 A. I did. I went back to work at Peat Marwick 23 Q. And for example, Arthur Andersen and Ernst &
24 Mitchell, yes. 24 Young, are these more of these big international
25 Q. And is the reason you left Peat Marwick 25 accounting firms?
Page 2460 Page 2462
1 Mitchell the second time to go get your doctorate 1 A. Yes, they were very large firms. Yes.
2 degree? 2 Q. And when they hired you to consult with
3 A. That's correct. 3 them, what kind of things did you do?
4 Q. And when you went back and worked that 4 A. One of the things I did, for example, was
5 _ second time at Peat Marwick, did you work as an 5 work at audit sampling, and I was -- I worked -- I
6 accountant? 6 taught partners, for example, how to apply audit
7 A. Yes, I did. As an auditor. 7 sampling partners in the CPA firm. I also developed
8 Q. Asan auditor and did audits. And so 8 firm policy in various areas for CPA firms. Policy that
9 between the two times that you worked at Peat Marwick, 9 adds on to what the professional authoritative standards
10 was that a little under two years? 10 require. I developed how-to guides for those firms.
11 A. Under a year. 11 Q. So one of the things you did is develop
12 Q. Now-- 12 how-to guides for the practitioners, the ones that were
13 A. In and around a year I would estimate. 13 out doing the audits?
14 Q. And Dr. Guy, after you received your 14 A. That's correct.
15 doctorate from the University of Alabama, what did you 15 Q. Did you ever answer questions from auditors
16 do? 16 in the field?
17 A. I joined the faculty at Texas Tech 17 A. Yes, I did.
18 University as an assistant professor. 18 Q. How did that work?
19 Q. How long does it take to get a doctorate in 19 A. I worked at -- in the executive office --
20 accounting? 20 for example, one of the firms -- and questions came in
21 A. Three or four years. It took me four years 21 from auditors who were doing work. And one of my
22 to get a Ph.D. 22 responsibilities was to assist in answering those
23 Q. And when you went to work teaching at Texas 23 questions, people that were out doing the
24 Tech, did you teach accounting courses? 24  pick-and-shovel work and partners and managers and
25 A. Idid teach accounting courses. That's all 25 others, yes.

 

 

 

 

 
   
   
  
  
   
 
   
  
   
  
  
  
  
  
  
 
Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 42 of 43

6 (Pages 2463 to 2466)

 

   
  
  
  
 
 
  
  
  
   
   
  
   
  

 

 

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Page 2463 Page 2465
1 Q. So again, practitioners who were out doing 1 A. - Yes, that's correct.
2 the work, if they encountered a problem, they could call 2 Q. And the AICPA has a mission statement?
3. you? 3 A. That's correct.
4 A. That's correct. 4 Q. And we've put that up on the board. And the
5 Q. And you would try to help them? 5 AICPA writes, its mission is to provide members with the
6 A. That's correct. 6 resources, information, and leadership that enable them
7 Q. Now, after teaching auditing and ethics at 7 to provide valuable services in the highest professional
8 Texas Tech for seven years and also working with these 8 manner to benefit the public as well as employers and
9 international accounting firms, what did you do next? 9 clients.
10 A. I basically joined the faculty at the 10 Why is it important in the mission statement
11 ‘University of Texas at Austin as a visiting professor. 11 of the AICPA to benefit the public in addition to
12 Q. And how long were you there? 12 employers and clients?
13 A. Iwas there for one academic year, an 13 A. Well, the AICPA is much, much more than a
14 academic year here, again, is nine months. 14 trade association. It sets authoritative standards for
15 Q. Did you teach auditing there? 15 CPAs, for example, that do audits. And when they audit
16 A. I did teach auditing there. 16 financial statements, those financial statements go out
17 Q. And teach ethics? 17 to -- the financial statements are prepared on the
18 A. Yes, I did. 18 client; they go out to various users.
19 Q. Now, during this time between -- I think you 19 Banks, for example, make decisions about
20 said you started at Texas Tech as an assistant 20 extending credit, investors, people who invest their
21 professor. Did you become a full professor over this 21 __ retirement funds, and so on.
22 time? 22 So these financial statements go to the
23 A. Yes. I got promoted from assistant to 23 public, for example. And the AICPA and one of my major
24 associate professor to full professor, yes. 24 responsibilities was to make sure that what we did was
25 Q. And after you had taught auditing and ethics 25 in the public interest, not just in the self interest of
Page 2464 Page 2466
1 at the University of Texas for a year, what did you do 1 CPAs.
2 next? 2 Q. And Dr. Guy, what year did you join the
3 A. I joined the American Institute of Certified 3 AICPA?
4 Public Accountants as director of audit research. 4 A. In 1979.
5 Q. Is that the AICPA? 5 Q. And when you were doing the research -- I'm
6 A. That's the AICPA, yes. 6 sorry, what was your position in 1979?
7 Q. Dr. Guy, in this trial we've been looking at 7 A. Director of audit research at the AICPA.
8 alot of rules. Is the AICPA, are they the ones that do 8 Q. And what were your responsibilities as the
9 these rules? 9 director of audit research at the AICPA?
10 A. That's correct. In terms of both ethical 10 A. Basically assist in the auditing standards
11 rules and regulations and also for the auditing 11 board which was the body that sets generally-accepted
12 standards, what we call GAAS, generally-accepted 12 auditing standards, and I did various projects for them.
13 auditing standards, and you probably refer to statements § 13 So some of the projects were research
14 on auditing standards, the SASes, that's part of GAAS. 14 projects, some of the projects were basically developing
15 Yes. That was one of the major 15 drafts for what would be new standards. And I also had
16 comprehensive responsibilities of the American Institute §16 major responsibility to supervise the staff that we had,
17 of CPAs, AICPA, yes. 17 which the staff, they were all certified public
18 MR. THOMAS: Your Honor, without objection, 18 accountants.
19 ~~ may I approach? 19 Q. Were you a certified public accountant?
20 THE COURT: You may. 20 A. Yes, I was.
21 MR. THOMAS: (Complies.) 21 Q. And you became a certified public accountant
22 BY MR.THOMAS: 22 back in, when, in Texas?
23 Q. Now, the AICPA is the organization where you 23 A. In 1972 I became a certified public
24 were working, and it's also the organization that sets 24 accountant.
25 _ authoritative auditing standards; is that right? Q. And Dr. Guy, how long were you the director
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Case 06-01220-AJC Doc 230-11 Filed 09/16/08 Page 43 of 43

7 (Pages 2467 to 2470)

 

   
     
  
   
   
  
   
   
  
   
   
  
   
  
   
   
   
   

 

Page 2467 Page 2469 4
1 of research? 1 Q. Dr. Guy, as part of your job at the AICPA,
2 A. I was director of audit research until 1983. 2 did you help write the rules that governed audits?
3 Q. And what did -- did you get a new position 3 A. Yes, I did.
4 in'83? 4 Q. Did you help write the rules that governed
5 A. Yes, I did. 5 the audits --
6 Q. At the AICPA? 6 MR. COLE: Bolstering, Your Honor.
7 A. Yes, I did. 7 THE COURT: Overruled.
8 Q. What was that position? 8 BY MR. THOMAS:
9 A. Ibecame vice president of auditing. And I 9 Q. -- governed the audits that BDO did in this
10 was a senior person at the AICPA in charge of auditing 10 case?
11 standards. 11 A. Yes, I did.
12 Q. And what were your responsibilities then? 12 MR. THOMAS: May I approach the witness with
13 A. Basically to pick -- do some of the things I 13 ~~ Plaintiffs’ Exhibit marked for ID 7343?
14 did before in terms of administrative work but also to 14 THE COURT: You may.
15 attend all ASB meetings, which I did, and participate in 15 MR. THOMAS: (Complies.)
16 all debates of new standards. We had to go through an 16 BY MR. THOMAS:
17 exposure process. 17 Q. Do you know what that is, Dr. Guy?
18 Since these standards have the force of law, 18 A. Yes. I spent a lot of years in my life
19 you had to first go through an exposure draft. I was 19 working with it, yes.
20 responsible for clearing those exposure drafts, looking 20 Q. What is it?
21  atcomment letters with the staff involved, presenting 21 A. It's the, I call it the blue and gold book,
22 material to the ASB for consideration, and reaching -- 22 but it's the codification of the statements on auditing
23 making changes in developing a final standard that would §23 standards. It contains the generally-accepted auditing
24 become an SAS, a statement on auditing standards. 24 standards, there are 10 of those, and it contains all of
25 Q. And how long did you hold that position? 25 _ the statements, the SASes that were basically in effect
Page 2468 Page 2470];
1 A. Iwas in that position from 1983 until 1996. 1 at the time this book was published.
2 Q. And was there a time when you got additional 2 It's codified once a year.
3 responsibilities? 3 Q. And --
4 A. Yes. 4 MR. THOMAS: Your Honor, at this time
5 Q. And when was that? 5 _ Espirito Santo moves into evidence Plaintiffs’ Exhibit
6 A. In 1996, for example, I became vice 6 7343 marked for ID.
7 president of technical standards and professional 7 MR. COLE: No objection.
8 services, and I had responsibility for auditing, which I 8 THE COURT: Without objection we'll accept
9 _ had had in accounting and what was called compilation 9 Plaintiffs’ Exhibit 7343 for ID as Plaintiffs' Exhibit
10 and review services for private companies, a level 10 7343 in evidence.
11 service below an audit. 11 MR. THOMAS: May I approach, Your Honor?
12 Thad responsibility for a hotline. We had 12 THE COURT: You may.
13 over a thousand phone calls a month from practitioners 13 MR. THOMAS: (Complies.)
14 doing work and those questions about generally-accepted [14 MR. COLE: Judge, now I'd like to have a
15 auditing standards and GAAP, generally-accepted 15 _ side bar.
16 accounting principles. We had a staff and I was 16 THE COURT: Okay. We'll have a side bar.
17 responsible for supervising and helping that staff with 17 (Thereupon, there was a side-bar conference
18 technical responses to practitioners. 18 outside the presence and hearing of the jury.)
19 Q. Dr. Guy, how long were you at the AICPA? 19 MR. COLE: I don't know where Mr. Thomas is
20 A. For almost 19 years. 20 going but last time, if you recall, you precluded him
21 MR. THOMAS: Your Honor, may I approach your §21 from showing the back page of the rules -- where it says
22 ~~ clerk? 22 who's on the committee and who wrote the rules -- as
23 THE COURT: You may. 23 _ bolstering last time. If that's what we're going to do,
24 MR. THOMAS: (Complies.) 24 Tobject.
25 BY MR. THOMAS: 25 MR. THOMAS: Your Honor, first of all, I

 

 

   

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